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Las Vegas, NV 89169

USA

P 702-457-5267

F 702-437-5267
labrantes@jamsadr.com

NEUTRALS LOCATION INFORMATION

Neutrals
Bell (Ret.) - Hon. Stewart L.

Boserup, Esq., CEDS* - Viggo
Chernick, Esq. - Richard

Edwards, Esq. - Bruce A.

Gack, Esq. - Kenneth D.

Gibbs, Esq. - Kenneth C.

Gonzalez (Ret.) - Hon. Irma E.
Haberfeld (Ret.) - Hon. Stephen E.
Hagen (Ret.), FCIArb - Hon. David Warner
Hale, Esq. - Floyd A.

Lavelle, Esq. - Eleissa C.

Leavitt (Ret.) - Hon. Lawrence R.
Lichtman (Ret.) - Hon. Peter D.
Meredith, Esq. - Craig S.

Panelli (Ret.) - Hon. Edward A.

Polsky, FCIArb/HKIACrb - Alexander S.
Pro (Ret.) - Hon. Philip M.

Rose (Ret.) - Chief Justice Robert E.
Swart (Ret.) - Hon. Coleman A.

Wall (Ret.) - Hon, David

Weaver, Esq. - Michael J.

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1/25/2016 JAMS Arbitration, Mediation, and ADR Services | Mediators/Arbitrators | Neutrals | Michael! J. Weaver, , Esq.

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Case Manager

Jenny Truex

JAMS

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619-237-0805 Phone
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Email:
jtmex@jamsadr.com

http:/Avww jamsadr.com/weaver/

Resolving Disputes Worldwide

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BIOGRAPHY PRESS EVENTS

Michael J. Weaver, Esq. has four decades of experience handling a wide range oflegal
issues, including 25 years of experience as an arbitrator and 20 years as a mediator. He
specializes in the resolution of complex domestic and intemational matters across a broad
spectrum of practice areas.

With particular expertise in partnership disputes and professional liability claims, Mr.
Weaver is well suited to working with firms, companies, and individual partners and
employees to resolve intemal and external conflicts.

Priar to his career as a full-time neutral, Mr. Weaver tried more than 80 cases to verdict,
judgment, or award. He handled matters in state and federal forums, including bankruptcy
court, in multiple jurisdictions.

A longtime pilot who flies on a weekly basis, Mr. Weaver is a fellow in both the American
College of Commercial Arbitrators and the American College of Trial Lawyers. In addition,
he is a former director of the National Conflict Resolution Center.

Representative Matters
e Business/Commercial
e Extensive experience mediating and arbitrating complex domestic and
international business-related disputes
o Particular expertise resolving intra-firm disputes between partners involving
breach of fiduciary duty, self- dealing, non-disclosure, fraud, routine negligence,
intellectual property, and employment issues
o Mr. Weaver's business/commercial biography provides a detailed overview of his
practice, including more information on his background and experience
resolving partnership disputes
« Employment
eo Experience handling wide range of employment-related claims, indluding
numerous class actions, involving wrongful termination, breaches of contract and
confidentiality agreement, sexual harassment, wage and hour, misclassification,
and meal and rest break periad violation issues
« Intellectual Property
o Chair on three-arbitrator panel for multi-week arbitration between software
developers over alleged copyright violations, breach of contract, and other
claims arising from use of interface technology to match hardware and software
application
o Served as arbitrator, mediator and formerly as a litigator on cases involving
patent maintenance and prosecution, enforcement, infringement and
invalidation, copyright, trade name, trade dress and likeness, misappropriation of
trade secrets, breaches of contractual limitations on competition and licensing,
and legal malpractice for failure to properly prosecute patents
o Matters involving complicated damages issues, including establishing
hypothetical license rates and injunctive relief
« Native American Law
o Extensive experience regarding issues involving limitation of jurisdiction, waiver
of sovereignty and inter- and intra-tribal relations
o Handled as litigator at trial and appellate level inter-tribal disputes over joint
operation of health center developed and operated for benefit of nine
independent tribes. Also handled civil disputes involving personal injury and
business operations conducted off tribal lands
o Three-panel arbitration involving dispute between gaming tribe and its
development partner and casino operator. Alt aspects of gaming licensing and
casino development and operations were raised during seven-week hearing
e Professional Liability
e Significant expertise resolving disputes related to professional liability and
malicious prosecution claims involving law and accounting firms, as well as
individual lawyers and accountants
e Fora detailed overview of Mr. Weaver's experience and practice,
pleasedownload his professional liability biography
« Securities
e Arbitration involving securities fraud and breach of fiduciary duty claims over
manner in which trades were booked and profits and losses divided between
investors and management
o Experience handling scores of shareholder class action securities and derivative
matters

Honors, Memberships, and Professional Activities
« Top Ten Lawyers in San Diego, Best Lawyers in America, 1992-2012

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General Biography

Specialties

Arbitration
Business/Commercial
Class Action/Mass Tort
Employment

Insurance

Intellectual Property
Professional Liability
Real Property
Securities

Locations

San Diego, California
Orange, Califomia

Los Angeles, California
Santa Monica, Califomia
Inland Empire, California
Las Vegas, Nevada

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o One of three lawyers recognized as handling ‘bet the company litigation,” 2007-
2012
Fellow, American College of Commercial Arbitrators
Director, National Conflict Resolution Center
Fellow, American College of Trial Lawyers
Member, American Board of Trial Advocates
Member, Advisory Committee, Ninth U.S. Circuit Court of Appeals
Executive Committee and Master of the Bench of the Inn, American Inns of Court,
Louis M. Welsh Chapter
Adjunct professor, University of San Diego School of Law
Founding member of Board of Directors and original director, Association of Business
Trial Lawyers, San Diego Chapter
Board of Directors, San Diego Volunteer Lawyers Association
Director, San Diego Aerospace Museum, 1982-1996
President and Director, San Diego Kidney Foundation, 1979-1983

Background and Education

Partner, Latham & Watkins, 1999-2012

Partner, Sheppard, Mullin, Richter & Hampton, 1986-1999

Associate/Partner, Luce, Forward, Hamilton & Scripps, 1975-1986

Law clerk, Hon, Gordon Thompson, Jr., U.S. District Court for the Southem District of
Califomia, 1973-1975

J.D., magna cum laude, University of San Diego School of Law

AB,, California State University, Long Beach

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SA A General Biography
BIOGRAPHY PRESS EVENTS Specialties
T: 702-457-5267 Arbitration
F: AS er 1d Hon. David Wall (Ret.) was elected to the District Court bench to serve Las Vegas asa Business/Commercial
ownload va trial judge and was re-elected without opposition in 2008. Judge Wall was consistently /
rated by attomeys as one of the top two trial judges in the Las Vegas Review- Construction Defect

Joumal's" Judging the Judges" surveys each year the survey was conducted (2004, 2006, Education/Schools

c
ase Manager 2008, and 2010).

Scott Parreno Employment
JAMS In 2006, he was named one of the "500 Leading Judges in America" by Lawdragon Entertainment and Sports
3800 Howard Hughes Magazine after less than four years on the bench. Judge Wall has had a successful career Estate/Probate/Trusts
Parkway as both a trial lawyer and a trial judge. While on the bench, he presided over jury trials and
11th Floor conducted numerous settlement conferences in a variely of areas of civil law. Insurance
Las Vegas, NV 89169
702-835-7806 Phone Representative Matters Personal Injury/Torts
702-437-5267 Fax « Business/Commercial Professional Liability
Email: © Breach of contract dispute related to entitlement of real estate commissions Real Property
sparreno@jamsadr.com e Dispute involving counterclaim for destruction of business inventory in eviction
process
o Breach of contract dispute regarding construction contract for outiet mall Locations
o Numerous matters related ta breach of commercial leases and residential Las Vegas, Nevada

purchase agreements
o Disputes related to failure to pay for materials obtained on credit
o Breach of loan agreement and counterclaim surrounding entitlement to portion of
lottery winnings
o Lawsuit arising from construction contract between general contractor and
subcontractor
© Claim involving buyout agreement between co-owners of original and successor
entities, including real property assets
o Partnership dispute over control of electrician business
o Lawsuit related to enforcing proprietary information agreements and non-
competition agreements
o Dispute related to contract providing imaging system to medical practice
o Commercial lease lawsuit involving tenant allegedly depleting corporate assets
to frustrate Confession of Judgment
o Dispute related to right to receive proceeds from sale of commercial real estate
o Lawsuits involving failure to pay commissions, violation of non-competition
agreement, constructive discharge, and defamation
e Matter arising from physician’s departure from practice to practice's detriment
o Dissolution dispute with allegations of mismanagement and disparagement
« Construction Defect
o Breach of contract dispute with issues arising from alleged defects in quality of
concrete supplied to contractor
Counterclaim resulting from defects in construction of casino resort
Matter involving approximately 100 homes with various defects
Lawsuit related to defective construction of residences and excessive costs
Matter involving defects in over 160 units where general contractor filed third
party complaints against over a dozen subcontractors
« Education/Schools
o Matter related to disabled minor's eligibility for special education
« Employment
o Lawsuit arising from alleged promised partnership interest
© Wrongful termination dispute where employee was terminated following claim for
Workers’ Compensation
o Numerous lawsuits arising from wrongful termination
« Entertainment and Sports
o Lawsuit with matters arising from legal relationship between heavyweight boxer
and fight promoter
e Estate/Probate/Trusts
e Dispute involving capacity of decedent to enter transactions, including IRA,
annuity, and wills
e Insurance
o Matter arising from insurer's failure to pay under Uninsured Motorist policy
o Subrogation dispute arising from employee injury by cases of glassware
damaged during overseas transit
o Lawsuit regarding insurance producer agreement
o Bad faith matter involving failure to pay on disability policy
Personal Injury
o Dispute arising from lawsuit regarding defective recreational vehicle
0 Matter involving inhalation of chemicals while staying at time share resort
oe Lawsuit resulting fram pedestrian being hit by motor vehicle

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o Numerous disputes related to injuries from motor vehicle accidents

Lawsuit arising fram damages from alleged negligence in city’s flood control plan

o Matters related to exploitation of the elderly, including claims of converting
elderly person’s property by fraud or deceit

o Dispute resulting from hitched trailer disengaging and striking another vehicle

eo Lawsuit arising from slip and fall in grocery store resulting in $2.5 million in
damages

eo Lawsuit resulting from injuries inflicted by night club security personnel

eo Wrongful death dispute resulting from mold in apartment complex

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Wrongful death dispute arising from helicopter crash at national park
Claims arising from being knocked down and bitten by guard dog, resulting in
head and neck injuries
o Dispute related to injury claims resulting from stolen limousine hitting a light pole
o Lawsuit resulting from food service cart striking individual and causing injury to
Achilles tendon
Matter involving construction foreman who drove through picket line and struck
individual
o False imprisonment claims against casino after allegedly threatening coworker
o Matter related to individual injured riding motorcycle arcade game
Lawsuit related to ceiling stucco falling on pregnant woman’s head causing
cervical and lumbar spine injuries
o Dispute involving taxicab passenger's injuries resulting from driver running red
light
o Negligence matter involving individual shot outside of nightclub following
altercation that occurred inside
o Matter related to issue of application of Family Purpose Doctrine in regards to
stepfather whose stepchild was struck in crosswalk
« Professional Liability
o Medical malpractice dispute with issues arising from cervical spine injections
o Matter related to claim that cervical epidural injection pierced spinal cord
o Multiple lawsuits arising from failure to diagnose
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Malpractice lawsuit related to surgical spine surgery on professional athlete
Lawsuit arising from real estate agent's failure to disclose material facts in
lease/option agreement
oe Negligence dispute alleging improper prescriptions of pain medications causing
addiction in patient group
e@ Claims against automaker for injuries allegedly resulting from defect in side
airbag
eo Legal malpractice dispute regarding settement of divorce case
o Dental malpractice dispute related to oral implants
o Medical malpractice matter arising from laceration of bladder during
hysterectomy surgery
o Dispute related to minor's compromise between treating physician and minor's
guardian
e Real Property
o Heard mechanics fien foreclosure dispute regarding subcontractor for
construction of casino resort
Matter related to property line dispute
Lawsuit regarding issue of unrecorded utility easement and inverse
condemnation
o Many disputes related to breach of residential lease and/or option agreements
e Contract matter regarding lot sold free and clear by seller without clear title
Lawsuit by Homeowners Association against condominium owner regarding
water damage to unit resulting in damage to common areas

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Honors, Memberships, and Professional Activities

Selected as a Mountain States Super Lawyer, 2012, 2014

Member, State Bar of Nevada Board of Govemors, 2011-2013

Chairman, Committee to Select Clark County District Attomey Candidates, 2012
AV Rated, Martindale-Hubbell

Top 100 Trial Lawyers, American Trial Lawyers Association, 2010

Highest Rated District Court Judge, Las Vegas Review-Jouma! Biennial Survey of
Clark County Attorneys, 2004 and 2010

« Graduate, Mediation for Judges, American Bar Association, 2009

« 2nd Highest Rated District Court Judge, Las Vegas Review-J/ouma/ Biennial Survey
of Clark County Attomeys, 2006 and 2008

Named one of 500 Leading Judges in America, Lawdragon Magazine, Winter 2006
Contributor, Take the Witness: The Experts Speak on Cross-Examination, a
compilation of essays on cross-examination selected by Court TV host, R. Klieman,
Juris Publishing, Inc., 2006

Board Member, YMCA of Las Vegas, 2002-2003

Graduate, Las Vegas Chamber of Commerce Leadership Las Vegas program, 2002
Member, Las Vegas Founders Club, 1994-2007

Member, American Bar Association

Member, Clark County Bar Association

Member, State Bar of Nevada

Member, Nevada Judges Association (former)

Background and Education

Partner, Eglet Wall Christiansen, 2010-2014

Judge, Eighth District Judicial Court, Clark County, 2003-2010

Chief Deputy District Attomey, Clark County, 1996-2002

Deputy Public Defender, Nevada Public Defender’s Office, 1994-1996

Associate Attomey, Gentile, Porter and Kelesis, P.C., 1991-1994

Deputy Public Defender, Nevada Public Defender’s Office, Clark County, 1987-1991
J.D., Marquette University Law School

Bachelor of Joumalism, University of Texas at Austin

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Recognized asa
“settlement guru” by the
Los Angeles Daily
Journal

Case Manager

Reggie Joseph

JAMS

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Los Angeles, CA 90013
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BIOGRAPHY PRESS

Hon. Coleman A. Swart (Ret,) is a skilled mediator and arbitrator who brings to JAMS 25
years of experience as a Los Angeles County Superior Court judge. During his time on the
bench, attomeys hailed his knack for resolving cases early in the process, the result of an
innovative and hands-on approach that included mandatory settlement conferences and
pretrial evaluations. Experienced in resolving cases involving medical malpractice,
personal injury, employment, business, and construction disputes, Judge Swartis lauded
for his fair-mindedness and firm grasp on complex legal issues.

ADR Experience and Qualifications

e Inhis first year on the Superior Court bench, Judge Swart reduced the backlog of
criminal cases using pretrial evaluations that often led to settlements

« Asa civil trial judge, he required mandatory settlement conferences and was widely
known for quickly resolving cases

« Called a “settlement guru” by the Los Angeles Daily Journal, Judge Swartis
experienced in mediating and arbitrating cases involving a wide range of legal
matters

Representative Matters
« Aviation
o Trial case involving wrongful death claims stemming from helicopter crash
« Business/Commercial
o Presided over several trials involving business and commercial disputes
o Settled breach of contract dispute involving construction company that defaulted
on payments for loans used to finance large machinery
« Class Actions/Mass Torts
o Numerous class action and mass tort issues, including cases involving federal
preemption and govemmental immunity issues stemming from major railroad
crash
Construction
Construction Defect
© Trials involving construction defect cases
« Employment
° Settled several employment and labor cases as settlement judge
« Estates/Probates/Trusts
o Mediated and resolved hundreds of contested probate, trust, and
conservatorship disputes
o Resolved breach of fiduciary duty claims against trustee for allegedly
borrowing trust money without authorization
o Resolved matter involving distribution of popular musician's trust to illegitimate
children
o Successfully mediated dispute between siblings over mother’s survivor's trust
that involved accounting and disbursement issues
Family Law
Personal Injury
o Settled numerous disputes involving liability of owner, workers compensation,
premises liability, elder abuse, product liability, toxic tort, general personal injury,
libel, defamation, and malicious prosecution matters
e Professional Liability
o Presided over trials and settled disputes involving malpractice or professional
liability claims in medical, legal, and architectural industries, as well as hundreds
of professional liability claims involving trust and probate accounting issues
e Real Property
© Tried and settled several real estate cases, including those involving
homeowners associations, eminent domain, and fandlord#enant issues

Honors, Memberships, and Professional Activities

« Judge ofthe Year, Pasadena Bar Association, 2001

e Chair, Los Angeles County Superior Court Personnel and Budget Committee, 1995-
1996, 2006-2008

Los Angeles County Superior Court Executive Committee, 1993-1994, 2002-2003
Califomia Trial Court Budget Commission, 1993-1998

Former member, Pasadena Tournament of Roses Association

Former Trustee, Occidental College

Past President, Occidental College Alumni Association

"Spinning Others’ Tales," ADR Profile, Daily Journal, June 8, 2012

Background and Education
« Judge, Los Angeles County Superior Court, 1983-2008

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General Biography

Specialties

Arbitration

Aviation
Business/Commercial
Class Action/Mass Torts
Construction
Construction Defect
Employment
Estates/Probate/Trusts
Personal Injury/Torts
Professional Liability
Real Property

Locations

Los Angeles, California
Inland Empire, Catifomia
Orange, Califomia

San Diego, California
Santa Monica, Califomia
Las Vegas, Nevada

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Supervising Judge, North Central and Northeast Districts, 2004-2008
Independent Civil Calendar Court and Probate Judge, 1995-2003
Supervising Judge, Pasadena Courthouse, 1993-1994
Civil Trial Court Judge, 1991-1992
Fast Track Civil Court Judge, Central District, 1989-1990
o Criminal Trial Judge, 1983-1988
e Los Angeles County District Attomey’s Office, 1967-1982
« J,.D., Golden Gate University School of Law, 1967
« Retired Commander, U.S. Naval Reserve
e U.S. Naval Reserve, 1966-1983
« Active duty, U.S. Navy, 1961-1966
« BA., Occidental College, 1961

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Recipient of the:

Legacy of Justice Award
for his contributions,
innovations, and
achievements resulting in
Significant improvements
to the judicial system -
Nevada Supreme Court,
2009

PeaceMaker of the Year
Award for his steadfast
support of ADR while on
the Supreme Court -
Nevada Dispute
Resolution Coalition,
September, 2006

Case Manager

Scott Parreno

JAMS

3800 Howard Hughes
Pkwy., 11th Floor

Las Vegas, NV 89169
702-835-7806 Phone
702-437-5267 Fax
Email:
Spareno@jamsadr.com

http:/Awww_jamsadr.com/rose/

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BIOGRAPHY PRESS

Chief Justice Robert E. Rose (Ret.) has served the state of Nevada in all three branches of
goverment. He has been a president of the state senate, Nevada’s lieutenant govemor,
and a chief justice of the Supreme Court of Nevada. Since leaving the Supreme Court in
January 2007, Justice Rose has conducted countless mediations and arbitrations in a
great variety of cases.

ADR Experience and Qualifications
« Justice Rose has handled many mediations and arbitrations throughout the western
United States in the past 7 years
e As Supreme Court Justice, he was a moving force in establishing the Supreme Court
Civil Settlement Program, which requires all appealed civil cases to go through a
mediation process conducted by experienced attomeys
e As Chief Justice, he championed the establishment of the still flourishing Business
Court Track in Las Vegas and Reno, emphasizing mediation and apbitration, with the
goal to achieve a reliable result in a minimum amount of time
As District Judge, he conducted countless settlement conferences, many involving
personal injury and medical malpractice cases

Representative Matters

Justice Rose helped decide well over 10,000 cases at the Nevada Supreme Court and
participated in more than 1,000 written decisions. A few of the more significant cases he
has handled as a mediator or arbitrator are as follows:

Business/Commercial

« Mediated multiple breach of contract cases involving failure to perform as required by
the Services Agreement, breach of Asset Purchase Agreement and violation of Non-
Compete provision

« Heard breach of contract by managing member in Operating Agreement in course of
securing loans for purchase of property without prior approval of non-managing
members

« Handled multimillion-dollar complex lien claim dispute

e Mediated certified class action auto fraud case involving failure to disclase

Employment

« Mediated numerous employment cases involving wage and hour disputes, sexual
harassment, breach of employment contracts, and wrongful termination claims

Estates/Probate/Trust

¢ Arbitrated dispute between siblings conceming financial shares in family business
and assets, breach of Operating Agreement, and breach of banking contracts

« Mediated consolidated trust proceeding resulting from sale of family business worth
$500 million dollars

Insurance

e Mediated matter involving negligence and breach of implied covenant of good faith
and fair dealing

Medical Malpractice/Professionail Liability

e Heard medical malpractice dispute related to patient neglect at nursing home

e Mediated medical malpractice dispute related to surgical equipment being left inside

of patient

Mediated dispute regarding patient being exposed to excessive levels of radiation

due to defective and improperly maintained equipment, and treatment that fell below

the standard of care

« Handled wrongful death matter resulting from failure to properly evaluate, treat and
diagnase patient admitted to the Emergency Room

« Arbitrated numerous medical and legal malpractice claims

Personal Injury/Torts

« Arbitrated personal injury matter related to accident between pedestrian and taxicab,

resulting in traumatic brain injury

Handled mediation of slip-and-fall claim at popular motel

e Mediated personal injury matter where claimant alleged injuries caused by media
personality

« Mediated issue related to personal injury claim involving collision between two
guests at ski resort

SAeA

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General Biography

Specialties
Administrative Law
Arbitration
Business/Commercial
Construction Defect
Personal Injury/Torts
Professional Liability
Real Property

Locations

Las Vegas, Nevada

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nationwide.

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« Mediated several claims alleging injuries that occurred on premises of major home
improvement retailer

Real Property

e Mediated eminent domain matter between utility energy company and large
construction company

e Handled commercial easement dispute

e Apbitrated multiparty dispute over ownership of real property and mining claims in
Nevada and Califomia

Special Master/Discovery Referee

« Served as Special Master for distribution of multimillion dollar pharmaceutical class
action settlement fund

« Appointed Special Master to conduct “in camera review” of more than 3,000
documents relating to their admission in litigation involving major metropolitan
complex

Honors, Memberships, and Professional Activities
« Recipient of the Legacy of Justice Award for exceptional dedication to law and ADR
in Nevada, Boyd School of Law Student Body Association, 2013
« Recipient of the Legacy of Justice Award for his contributions, innovations, and
achievements resulting in significant improvements to the judicial system, Nevada
Supreme Court, 2009
s Recipient of PeaceMaker of the Year Award for steadfast support of ADR while on the
Supreme Court, Nevada Dispute Resolution Coalition, September, 2006
Distinguished Service Award, National Judicial College, Reno, NV, July, 2006
Jurist of the Year, American Civil Liberties Union, Nevada Chapter, 2006
Judge ofthe Year, American College of Trial Lawyers, Nevada Chapter, 2001
District Judge of the Year, Nevada Association of Sheriffs and Police Chiefs, 1988

Background and Education
e Taken many seminars and courses in mediation, including the 40-hour course given
by the National Judicial College, Reno, Nevada, 2005
« Justice, Nevada Supreme Court, 1989-2006 (Chief Justice 5 Years: 1993, 1994,
1998, 1999, 2006)
Judge, District Court, 8th Judicial District, Las Vegas, Nevada, 1986-1988
General Civil Law Practice, Cochrane and Rose, Las Vegas, NV, 1979-1986
Lieutenant Governor, State of Nevada, 1975-1978
District Attlomey, Washoe County (Rena, Sparks, No. Lake Tahoe), 1971-1974
General Civil Law Practice, Goldwater Taber and Hill, Reno, NV, 1965-1970
(Associate, 1965-1968; Pariner, 1969-1970)
e Law Clerk, Nevada Supreme Court, Carson City, NV, 1964-1965
e J.D., New York University School of Law, New York City, NY, 1964 (Root-Tilden
Scholarship recipient 3 years); American Jurisprudence Award in Administrative Law
e BA,, Juniata College, Huntingdon, PA, 1961 (distinction in history)

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Case Manager

Scott Parreno

JAMS

3800 Howard Hughes
Pkwy., 11th Floor

Las Vegas, NV 89169
702-835-7806 Phone
702-437-5267 Fax
Emait:
spameno@jamsadr.com

http:/Avww.jamsadr.com/pro/

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BIOGRAPHY PRESS EVENTS

Judge Philip M. Pro (Ret.) joined JAMS following a distinguished federal judicial career
spanning nearly 35 years, during which he eamed a reputation for active case
management, faimess, preparation, decisiveness, and a deep understanding of the law.
As a United States District Judge for more than 27 years, he presided over a full range of
cases involving intellectual property, commercial disputes, antitrust, securities,
employment, class actions, multi-district litigation, and many others. Prior to his service on
the Bench, Judge Pro had a distinguished career as a former Assistant U.S. Attomey for
Nevada, Deputy Attomey General for the State of Nevada Gaming Division and a civil
litigator.

As the only full-time United States Magistrate Judge in Las Vegas, Nevada, from 1980 to
1987, Judge Pro also presided over a wide range of pre-trial matters and settlement
conferences in virtually all civil cases filed in federal court, including the MGM Grand Hotel
Fire Litigation, MDL 453.

Judge Pro has traveled to over 20 countries to promote the rule of law through educational
programs teaching independent judicial administration and case management. His
experience and global perspective prove vital in resolving many different types of cases.

ADR Experience and Qualifications

Judge Pro presided over and resolved by settlement, judgment, or trial, thousands of
cases involving a wide range of issues, including:

Antitrust

Banking

Bankruptcy

Business/commercial

Class actions and collective actions

Corporate govemance

Employment and labor disputes

Intellectual property: Copyright, patent, trademark, unfair competition
Intemational discovery

Medical malpractice

Multi-district litigation: Antitrust, employment, mass tort, securities
Personal injury

Products liability

Securities

Representative Matters
« Antitrust
o Held that Natural Gas Act preempts state-law claims challenging alleged industry
price fixing practices that directly affect wholesale natural gas market. in re
Westem States Wholesale Natural Gas Antitrust Litigation, MDL 1566
eo Multi-district litigation (MDL) case alleging antitrust conspiracy to artificially inflate
energy prices and seeking remand to state court. /n re California Retail Natural
Gas and Electricity Antitrust Litigation, MDL 1406
o Adjudicated gasoline retailers antitrust action against competitor alleging
predatory pricing of gasoline in violation of Sherman Act and Clayton Act. Rebe!
Oil v. Atlantic Richfield Co., 957 F.Supp. 1184 (1997)
« Business/Commercial
o Dispute related to authorization for banks to charge customers of other banks for
usage of their automated teller machines (ATM). Valley Bank v. Plus Systems,
749 F.Supp. 223
e Breach of contract action against real estate companies arising from dispute
regarding 2,000 acre development
Federal savings association action against former bank employees alleging
breach of fiduciary duty and violation of Nevada Uniform Trade Secrets Act
e Countless actions related to breach of contract and breach of fiduciary duty
Numerous deficiency judgment actions on guarantees securing loans for real
estate development
o Numerous insurance coverage and bad faith claims
9 Settled action over liability of members of joint venture developing a large
condominium complex following summary judgment
o Adjudicated claims for interference with contractual relations arising in
connection with real estate development auction
e Employment/Labor
o Disputes alleging age and gender discrimination, and hostile work environment
o Disputes arising from retaliation claims
© MDL action related to allegations that nationwide retailer systematically failed to
pay overtime hours and altered employees time records. In re Wal-Mart Wage

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o

General Biography

Specialties

Administrative Law

Antitrust

Arbitration

Banking

Business/Commercial

Civil Rights

Class Action/Mass Tort

Employment

Energy/Utility

Environmental

Federal ,

Govermmental/Public Entity

Intellectual Property

International

Personal Injury/Torts

Real Property

Securities

Special Master/Discovery
Referee

Locations

Las Vegas, Nevada
Orange, Califomia

Los Angeles, Califomia
Santa Monica, Califomia
San Diego, Califomia
San Francisco, Califomia

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nationwide.

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and Hour Employment Practices Litigation, MDL 1735
© Sex discrimination case brought against owner/publisher of newspaper
Numerous sexual harassment and discrimination cases

© Former employees’ class actions alleging systematic wage and hour violations
under federal and state law

o Lawsuits alleging disability discrimination under Americans with Disabilities Act
(ADA)

oe Lawsuits brought by employees alleging failure to make reasonable
accommodation for disabilities under the Fair Employment and Housing Act
(FEHA) and Employee Retirement Income Security Act (ERISA)

oe Multiple collective actions and class actions brought under Fair Labor Standards
Act

o Numerous actions brought under Labor Management Relations Act

eo Numerous actions alleging breach of the duty of fair representation

© Actions involving employee group health coverage claims under ERISA

« Governmental and Environmental Litigation

o Suit by property developer and City of Las Vegas against railroad seeking
remediation costs for railroad’s contamination of property. City Parkway v. Union
Pacific Railroad, 911 F.Supp.2d 1022 (2012)

o Construing claims by former employees warking at classified United States Air
Force facility against EPA alleging violations of Resource Conservation and
Recovery Act. Kaza v. Browner, 932 F.Supp. 254 (1996)

© Citizen suit brought under Resource Conservation and Recovery Act (RCRA)
and Comprehensive Environmental Response, Compensation and Liability Act
(CERCLA). Frost v. Perry, 919 F.Supp. 1459 (1995)

o Lawsuit related to project to widen section of federal interstate highway. Sierra
Club v. U.S. Dept. of Transportation, 245 F.Supp.2d 1109

o Action by organizations in Mexico and the United States regarding project to
modify the “All American Canal” to prevent seepage of water to the Mexicali
Valley. Consejo de Desarrolio Economico de Mexicali v. U.S., 438 F.,Supp.2d
1207 (2006)

eo Construing claims related to water diversion, transportation, and storage rights
and authority of Nevada State Engineer with respect thereto. U.S. v. Alpine Land
& Reservoir Co., 919 F.Supp. 1470 (1996)

oe Holding absolute FCC ban on proposed gaming advertisements violated
broadcasters’ rights to commercial free speech. Valley Broadcasting v. U.S., 820
F.Supp. 519 (1993)

s Construing claims by various county and city defendants in eminent domain
proceeding relating to easement for construction of the Kem River Natural Gas
Pipeline

« Intellectual Property
o Copyright
a Adjudicated various cases on diverse copyright areas
o Disputes arising from website design
o Patent

eo Courttrial declaratory judgment finding that patents related to machine
vision and automatic identification bar code technology were invalid,
unenforceable, and not infringed. Symbo/ Technologies v. Lemelson, 301 F.
Supp. 2d 1147 (2004)
Lawsuit by owner of card game patents alleging infringement by competitor
Patent infringement suit by owner by assignment of six patents for
“Electronic Surface Mount Packages’. Halo Electronics v. Be! Fuse (2013)
o Infringement suit by owner of patent for electronic gaming network and
patent for lottery-type wagering game against competitor. Fortunet v.
Melange Computer Services, 412 F.Supp.2d 1071 (2005)
Class action by investor partners against patent owner alleging breach of
fiduciary duty and of partnership agreement as result of alleged failure to
enforce royalty agreement
o Claim construction and summary judgment on patent infringement action
involving patents for systems and methods of data analysis and data
visualization
Claim regarding patents covering various navigation processes and devices
related to construction

eo Multiple actions regarding allegations of patent infringement, trademark
infringement, and unfair competition

© Trade Secrets
o Claims of developer of Kentucky Fried Chicken skinless fried chicken
product against restaurant franchisor for misappropriation of trade secrets
o Trademark
e° Action brought by owner of registered trademark consisting of name of
musician Bob Marley for infringement, unfair competition, and unauthorized
use of night to publicity under Nevada law
Disputes involving website names and access
Actions over competitors’ uses of similar trade names
o Various trade dress cases between competitors canceming product design
and packaging
0 Trademark infringement action between owners of competing adult
entertainment websites
e Securities

o Dispute related to alleged hostile takeover and defensive measures, and to
compel annual meeting. Hilton Hotels v. TT Corp., 978 F.Supp. 1342 (1997)

o Class action alleging securities fraud, insider trading, and pendent state claims

for common-taw fraud and negligent misrepresentation

Actions alleging securities fraud through issuing false or misleading statements
about reserves, revenues, and income. in re Stratosphere Corp. Securities
Litigation, 66 F.Supp.2d 1182 (1999)

Action alleging golf club owners conspired to fraudulently induce investors to
purchase country club at inflated price

o Securities fraud class action alleging price-fixing

o MDL action for securities fraud brought by investors who purchased stock

e Torts/Personal injury

o Claims for negligent infliction of emotional distress, and conscious disregard for
safety of invitees and guests at 1991 Tailhook Convention. Paula Coughiin v.
Tailhook Assoc. & Hilton Hotels, 879 F.Supp. 1047 (1995)

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o Court trial adjudicating claims of former workers at Nevada nuclear test site
alleging negligence in protecting workers engaged in atmospheric and
underground nuclear testing

e Action alleging conspiracy to defame Gennifer Flowers in books and television
interviews. Flowers v. Carville, et al., 292 F.Supp 2d 1225 (2003)

Honors, Memberships, and Professional Activities

Appointed, Nevada Gaming Commission, 2015-2019
Recognized in Nevada Law Journal 511 (2012) Saluting Judge Pro's Quarter
Century of Nevada District Service
s Board Member, Saltman Center for Conflict Resolution at the Boyd School of Law,
2006-present
« Participated in “Rule of Law” pragrams with foreign judiciaries in over 20 countries
including Hungary, Georgia, Bosnia, Netherlands, Spain, South Africa, Malawi,
Jordan, Pakistan, Norway, Indonesia, Armenia, Azerbaijan, Ukraine, Latvia, and
Columbia, since 1999
Chair, State Bar of Nevada Law Related Education Consortium, 2010-2014
Board, Federal Judicial Center, 2007-2011
Chair, Ninth Circuit Wellness Committee, 2005-2010
Co-moderator, U.S. Department of Justice Colloquium for lragi Jurists in Washington,
D.C., 2003
« Member of the Ninth Circuit Jury Instructions Committee, 1987-2002
« Vice President, Federal Judges Association, 1997-2001, and Board Member, 1992-
2001
e Co-chair, Founding Advisory Board, William S. Boyd School of Law, University of
Nevada atLas Vegas, 1997-1999
o Member, Boyd Law School Advisory Board
« Chair, United States Judicial Conference Committee on the Administration of the
Magistrate Judges System, 1993-1998
Founding Member, Howard McKibben Nevada American Inn of Court
o President, 1988-1990
e Publications:
© Co-author, “Measured Progress, the Evolution and Administration of the Federal
Magistrate Judges System”, The American University Law Review, 1995
o Author, “Misunderstanding Judging,” Nevada Law Joumal, 2007

Background and Education

e Judge, United States District Court, District of Nevada, 1987-2014
o Senior United States District Judge, 2012-2014
o Chief Judge, District of Nevada, 2002-2007
Magistrate Judge, United States District Court, District of Nevada, 1980-1987
Assistant United States Attomey, Reno, 1980
Deputy Attorney General, Gaming Division, State of Nevada, 1979-1980
Partner, Semenza, Murphy and Pro, 1977-1979
Assistant United States Attomey, Las Vegas, Nevada, 1975-1977
Deputy Public Defender, Clark County, Nevada, 1973-1975
Law Clerk for the Honorable William P. Compton, Eighth Judicial District Courtin Las
Vegas, Nevada, 1972-1973
LL.M., Duke University School of Law, 2014
J.D., Galden Gate University School of Law, 1972

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Best Lawyer, ADR
category, Best Lawyers in
America, 2008-2016

AV Preeminent Status as
a Top Rated Lawyerin
Altemative Dispute
Resolution, Martindale-
Hubbell

SuperLawyer, ADR
category, SuperLawyers,
2006-2016

Top Califomia Neutral,
Daily Journal, 2006-2010,
2012

"Nobody works a case
like [Alex] and I think all
counsel! appreciate how
prepared he is for tough
cases.”

- New York Attomey

"Thanks for your
invaluable assistance.
Excellent work."

- Baltimore Attomey

"Unlike other mediators,
Mr. Polsky does not give
up, he hangs in there and
keeps the process going
even when others would
expect an impasse -- he
gets the job done."

- LA Attlomey

"The thought, care, and
attention he put into this
mediation really showed
and my client
appreciated his superior
mediation efforts."

- OC Attomey

Case Manager

Laura Aguilar

JAMS

500 N. State College
Blvd.

14th Floor

Orange, CA 92868
714-937-8256 Phone
714-939-8710 Fax
Email: .
laguilar@jamsadr.com

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BIOGRAPHY PRESS EVENTS PUBLICATIONS

Alexander S. Polsky, FCIArb/HKIACrb is considered a pioneer in the field of altemative
dispute resolution. An AV-rated trial lawyer who began practicing in 1977, Mr. Polsky left
litigation in 1991 and refocused his practice solely on ADR ata time when few attomey

specialists were working in the field. Mr. Polsky’s practice spans disciplines and countries,
as he conducts mediations, arbitrations, reference trials and training programs worldwide.

He has presided over the resolution of more than 10,000 disputes and is well known for
his ability to calm highly emotional parties and to simplify complex disputes.

Mr. Polsky has received nearly every independent award for excellence in the field of
ADR. He has been recognized year after year as a top arbitrator and mediator by the Los
Angeles Daily Journal, Super Lawyers and ALM Best Lawyers. Martindale Hubbell has
given him an AV rating and he is among Lawdragon’s top 1,000 Lawyers in America. Mr.
Polsky teaches negotiation and mediation at USC’s Gould School of Law. He also
provides negotiation training to law firms, bar associations and corporations worldwide.

Mr, Polsky has a deep understanding of securities-related issues, as well as insurance
coverage issues as they apply to complex class action matters.

Please click here to view what counsel have to say about Mr. Polsky.

ADR Experience and Qualifications

« Has participated in the resolution of over 4,000 disputes nationwide
* Multi-disciplinary ADR practice includes:

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Appellate dispute resolution

Business

Construction defect, accident, and E&O

Environmental exposure and remediation

Franchise disputes and class actions

Goverment liability/code enforcement

High value domestic relations and child custody

Insurance coverage, E&O, and bad faith

Intemational arbitration

Labor/employment: management disputes, fact-finding, sexual harassment
Land use/condemnation

Maritime

Medical negligence & devices (neutral & party arbitrator)
Patent/copyright

Product liability

Real estate-transactional and E&O (licensed real estate broker)
Serious injury and wrongful death

« Complex case management experience includes serving as a discovery referee in
complex litigation. Mr. Polsky designs and implements discovery plans with the goal
of cost efficient analysis and early resolution.

Honors, Memberships, and Professional Activities

Recognized as a Best Lawyer, Alternative Dispute Resolution category, Besf Lawyers

in America, 2008-2016

Recognized as a SuperLawyer, Altemative Dispute Resolution

category, SuperLawyers, 2006-2016

Recognized as a Top Master, Daily Journal
Recognized with AV Preeminent Status as a Top Rated Lawyer in Altemative Dispute

Resolution, Martindale-Hubbell

Recognized as a Top Califomia Neutral, Daily Journal, 2006-2010, 2012
Speaker, "What Real Estate Attomeys Can Learn Fram Mediators—And Vice Versa,"

Tokyo Annual Conference of the Intemational Bar Association, 2014

Panelist, U.S, District Court for the Central District of California Mediation Panel
Successfully completed "Accelerated Route to Fellowship Intemational Arbitration

Program with Award Writing Examination, Chartered Institute of Arbitrators, North
American Branch, 2014

Fellow, Intemational Academy of Mediators
Adjunct Professor of Law, University of Southem Califomia School of Law and Straus

Institute for Dispute Resolution at Pepperdine University School of Law

Lecturer (partial list): Califomia Bar Association, American Bar Association,

Association of Southern and Northem Califomia Defense Counsel; Consumer
Attorneys of Califomia, Los Angeles and Orange County; Los Angeles, Orange
County and San Francisco Bar Associations; Pepperdine University Law School;
Building Industry Association

Past Director: Orange County Bar Assaciation, Orange County Trial Lawyer's

Association, Southem Califomia Adjusters Association

General Biography —

Specialties

Appellate

Arbitration
Business/Commercial
Class Action/Mass Tort
Construction
Construction Defect
Employment
Engineering and Construction
Entertainment and Sports
Environmental
Estates/Probate/Trusts
Financial Markets
Franchise
Govemmental/Public Agency
Health Care

Insurance

international
Maritime/Admiralty
Personal Injury/Torts
Professional Liability
Real Property

Securities

Surety

Locations

Orange, Califomia
Intand Empire, Califomia
Las Vegas, Nevada

Los Angeles, Califomia
Sacramento, Califomia
San Diego, Califomia
San Francisco, Califomia
Santa Monica, California
Wainut Creek, Califomia

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Past Chaimperson, Orange County Bar Association Committee on ADR

Delegate, State Bar of Califomia, Conference of Delegates

National Institute of Forensic Studies, Professional Advisory Board

Publications on ADR and Attomey Fee Disputes for State and Local Bar Associations,

firms, trade associations, and newspapers. Author: "A System for Cost Effective

Management of Construction Defect and Complex Litigation." Author: "ADR, Why

Does it Work?" Author. "Use of the Special Master in Complex Litigation." Author:

“Use of Risk Based Facilitative Dispute Resolution."

e Mr. Polsky is a sought after negotiation skills trainer and has lectured throughout the
United States. He is an adjunct Professor of Law at the University of Southern
Califomia, where he teaches a course he designed on ADR and negotiation, and at
the Straus Institute for Dispute Resolution at Pepperdine University School of Law,
where he teaches courses in the LLM program. He is available to provide training in
negotiation and mediation skill development to corporations and professional
organizations.

« Pro bono activities include Dispute Resolution Services (DRS) Board of Directors;

Los Angeles/Long Beach Legal Aid Grand Cru Board of Directors; Public Law Center

of Orange County Board of Directors; Los Angeles County Bar Association volunteer

mediation program volunteer

Download Mr. Polsky's comprehensive practice overview

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Awarded the

2014 Lifetime
Achievement Award by
the Santa Clara County
Trial Lawyers Association

“He strips away all the
verbiage, pretense and
smokescreen and looks
for an outcome that's just
and understandable...
That's why he’s such a
good mediator.” -
Accomplished Academic

Recognized as a "San
Francisco Lawyer of the
Year, Altemative Dispute
Resolution

Category, "Best Lawyers
in America, 2009, 20171-
2014

Recognized as a “Top
Master,” Top Califomia
Neutrals List, Daily
Joumal, 2013

Recognized as a Top
Califomia Neutral, Daily
Joumal, 2003, 2007-2011

Case Manager

Karen Clerici

JAMS

Two Embarcadero Center
Suite 1500

San Francisco, CA 94111
415-774-2656 Phone
415-982-5287 Fax

Email:

kclerici@jamsadr.com

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BIOGRAPHY PRESS

Hon. Edward A. Panelli (Ret.) joined JAMS in 1994 upon retirement from the Supreme
Court of Califomia. At JAMS, Justice Panelli regularly handles high-profile, complex cases
including business disputes, insurance coverage matters, class actions, multidistrict
litigation, and employment matters, among others. While on the bench, Justice Panelli
handled hundreds of settlement conferences and mediations involving all areas of the law
and wrote important decisions pertaining to insurance coverage and strict liability. During
his twenty-two years on the bench, Justice Panelli was specially recognized as one of the
best settlement judges in Califomia and since joining JAMS he has continued to receive
accolades as a top neutral.

Throughout the legal community, Justice Panelli is known for his ability to cut to the heart
of complex matters and hone in on the deciding factors in the case. Justice Panelliis a
highly efficient arbitrator and vastly qualified and experienced as a multiparty case
mediator.

ADR Experience and Qualifications

Heard hundreds of settlement conferences and mediations

Successful resolution of many post-verdict cases

Successfully resolved hundreds of bad faith insurance cases involving all types of
insurance coverage issues

Experience in mediations involving all types of cases including legal and medical
malpractice cases, product liability, business litigation, insurance coverage,
employment (termination, harassment, discrimination), and contract disputes
Extensive experience in resolution of class action litigation

Arbitration experience involving a variety of issues, including insurance coverage
issues

Conducted mandatory settlement conferences for eight years while on the trial court
Taught settlement conference techniques at the Trial Judges College

Lectured extensively on the subject of settlement, mediation, and arbitration in the
U.S., Italy, Egypt, Tunisia, and Israel

Has conducted numerous neutral evaluations

Representative Matters

Authored the Supreme Court opinions in Montrose |, Bank of the West, Horrace Mann,
Mirkin v. Wasserman, Jolly v. Eli Lilly, Abbott Ford

Northridge earthquake cases, settled an earthquake lawsuit involving a major
Hollywood studio

Holocaust litigation

Setifed an intellectual property dispute between an American technology company
and a foreign technology company

Arbitrated a dispute involving a high profile entertainer

Mediated a business dispute in Singapore involving a foreign bank and American
manufacturer

Highest settlement te date is over $97 million dollars

Honors, Memberships, and Professional Activities

Awarded the 2014 Lifetime Achievement Award by the Santa Clara County Trial
Lawyers Association

Recognized as a "Best Lawyer, Altemative Dispute Resolution Category,” Best
Lawyers in America, 2009, 2011-2015

Recognized as a "Top Master," Top California Neutrals List, Daily Journal, 2013
Recognized as a Top Califomia Neutral, Daily Journal, 2003, 2007-2011
Recognized as a "San Francisco Lawyer of the Year, Altemative Dispute Resolution
Category," Best Lawyers in America, 2011

Recognized as One of the 500 Leading Judges in America, Lawdragon Magazine,
2006

Recognized as One of the Bay Area's Top 10 Mediators, The Recorder, 2002
Justice Panelli is active in countless Italian-American and community service
organizations. He has received numerous awards and citations for his efforts in legal
education and his dedication to the enrichment of Italian-American culture and its
contributions to wester civilization.

Chair, Board of Trustees, Santa Clara University, 1984-2003; Vice Chair, Judicial
Council of California, 1992-1994

Honorary Doctorate of Laws, Santa Clara University, Southwestem School of Law
"Staying Power," Daily Joumal, ADR Profile, October 10, 2008

Background and Education

http:/Avww.jamsadr.com/panelli/

Associate Justice, Supreme Court of the State of California, 1985-1994
Presiding Justice, Sixth District Court of Appeal, 1984-1985

General Biography

Specialties

Appellate

Arbitration

Business/Commercial

Class Action/Mass Tort

Employment

Entertainment and Sports

Environmental

Healthcare

Insurance

Personal Injury/Torts

Professional Liability

Special Master/Discovery
Referee

Locations

San Francisco, Califomia
Inland Empire, Califomia
Las Vegas, Nevada

Los Angeles, California
Orange, Califomia
Sacramento, Califomia
Santa Monica, Califomia
Silicon Valley, California
Walnut Creek, California

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Associate Justice, First District Court of Appeal, 1983-1984

« Judge, Santa Clara County Superior Court, 1972-1983 (Presiding Judge, 1980)

« Private practice, partner at Pasquinelli & Panelli specializing in probate, personal
injury, domestic relations and general business practice

« J.D., cum laude, University of Santa Clara Law School (Recipient: Outstanding Law
Graduate Award)

« BS., cum laude, University of Santa Clara

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"| believe that itis the
obligation of all civil
litigants to explore
resolution through
settlement and that with
the right mediator working
with parties and counsel
acting in good faith
toward thatend, any civil
case can be settled."

— Craig Meredith

"Craig's extensive
preparation, hard work
and expertise in
insurance coverage
resulted in the settlement
ofa multi-million dollar
commercial construction
case that no one thought
could settle.”

~ Partner at intemational
law firm

Case Manager

Kathleen Hanley

Two Embarcadero Center
Suite 1500

San Francisco, CA 94111
415-774-2617 Phone
415-982-5287 Fax

Email:
khanley@jamsadr.com

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BIOGRAPHY PRESS EVENTS PUBLICATIONS

Craig S. Meredith, Esq. has successfully served as a mediator in hundreds of cases,
focally and nationally, involving complex insurance disputes, including construction defect
cases, inter-carrier and insured-carier disputes, broker disputes, bad faith litigation, bodily
injury suits, and other disputes. Additionally, he has participated in more than 400
settlements of major construction litigation as coverage counsel for the developer or
general contractor.

Mr. Meredith is most widely known for his expertise in the areas of insurance coverage
with a primary emphasis on general liability coverage issues for commercial construction,
construction defect, engineering and infrastructure, and environmental matters. He is
deeply familiar with issues that arise under CGL coverage, as well as property insurance,
builders risk insurance, bonds, SubGuard claims and professional liability insurance. Mr.
Meredith is also known and respected for his ability to form relationships with both cartier
representatives and outside counsel.

Mr. Meredith’s expertise is widely used in Califomia as well as around the country in
disputes related to large commercial and industrial projects, residential projects, and his
experience includes cases that have involved port facilities, hospitals, museums, water
treatment facilities, glass fumaces, and steam boilers.

Mr. Meredith is frequently sought out as a national and intemational speaker on topics
related to construction defect and commercial general liability coverage.

Read counsel comments about Mr. Meredith's skills and style as a neutral.

ADR Experience and Qualifications
e Mediated hundreds of cases, participated in over 400 settlements, and assisted in
negotiating settlement funding and allocation agreements
« Participated in numerous major complex construction projects involving
condominiums, apartments, single family residences, high rise buildings, resorts, and
a water filtration plant, among others
« Extensive coverage experience with construction defect cases including commercial
and residential projects
« Resolved many catastrophic injury insurance cases with complicated coverage
issues
Expert in OCIP and other Wrap programs
Has over 30 years of experience specializing in insurance coverage, with a primary
emphasis on general liability coverage issues for commercial construction,
construction defect, engineering, and environmental matters

Representative Matters
« Global Engineering and Construction
o Settled $400 million+ defect case involving halted construction of $9 billion 67-
acre development on the Las Vegas Strip
© Settled construction and related insurance issues with paving problems at large
shipping container terminal in Jacksonville, FL
o Resolved a construction defect action in Miami, Florida involving a twin tower
high rise building with the original claims in excess af $120M
eo Resolved the coverage disputes preventing settlement of a construction defect
action involving a water filtration plant in Vermont
o Resolved a multi-million dollar infrastructure dispute involving construction
defects at a Juxury resort in Ft. Lauderdale, Florida. Resolved both general
liability and builders risk coverage disputes
e Resolved a construction defect suit in Hobe Sound, Florida involving a large
apartment project
e Resolved a large commercial office building construction defect claim in
Oakland, California by resolving the issues involving a complicated specialty
insurance product
o Resolved a complex resort construction defect action in Napa County, Califomia
« Construction Defect
o Resolved numerous condominium lawsuits involving construction defects
o Resolved numerous construction defect actions involving multiple single family
homes in large developments
o Resolved numerous disputes involving Zurich’s HBPP and SubGuard programs
« Insurance
o Resolved contribution action between two carriers for the same insured. The
underlying case was a pollution claim arising from a fire in a hazardous materials
truck
eo Resolved Fidelity bond subrogation action arising from landfill bribery fraud case

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General Biography

Specialties

Construction

Construction Defect
Engineering and Construction
Insurance

Personal Injury

Locations

San Francisco, Califomia
Sacramento, Califomia
Santa Rosa, Califomia
Silicon Valley, California
Walnut Creek, California
Las Vegas, Nevada

Los Angeles, California
Orange, Califomia

Santa Monica, Califomia

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nationwide.

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1/25/2016 JAMS Arbitration, Mediation, and ADR Services | Mediators/Arbitrators | Neutrals | Craig S. Meredith, , Esq.

o Settled D&O coverage case regarding liability arising from an alleged
embezzlement. Resolution incorporated disputes among the bank (plaintiff), the
corporation, and the D&O carrier

e Settled coverage case arising from the collapse of the floor of a Las Vegas
casino night club

o Resolved complicated first party $32M property loss claim arising from a hospital
facility's complex steam piping system

o Resolved case with coverage issues relating to a factory explosion

oe Handled cases involving wine production: damage to wine caused by industrial
producer, wine loss due to deficient facility maintenance

eo Successfully mediated numerous inter-camier suits for contribution and indemnity

o Resolved an insurance coverage dispute regarding pollution coverage for gas
station leakage in Marin County, California

o Successfully mediated the resolution of a coverage dispute involving the
landslides at golf courses in Santa Clara County, Califomia and Palos Verdes,
Califomia

so Resolved numerous insured vs. carrier disputes invalving allegations of bad faith

« Non-construction Insurance

o Participated in the resolution of a copyright infringement action in Atlanta,
Georgia with claim of over $100M by assisting with reaching a compromise of the
insurance issues involving personal injury coverage for copyright violation

o Participated in the resolution of a substantial trade secrets action by assisting
with reaching a compromise of Directors and Officers liability coverage issues

« Bodily Injury

o Assisted in the resolution of a tragic wrongful death auto accident case by
resolving coverage issues pertaining to the relative priorities of the auto policies
involved
Resolved the coverage issues surrounding a paraplegic bodily injury claim in
order to settle the action
Resolved the coverage issues preventing the resolution of a workplace bodily
injury case in Houston, Texas
Resolved a bad faith failure to settle action involving an auto bodily injury case

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Honors, Memberships, and Professional Activities
« Speaker at numerous local, national, and intemational professional organizations on
topics related to construction defect litigation, commercial general liability coverage,
and mold legislation, litigation, and coverage
« Representative recent presentations include
o “U.S. Legal Insurance Environment,” SCOR Business Solutions Casualty
Seminar, Paris, France, October 19-20, 2009
o “Known Loss and Continuing Damage,” 15th Annual West Region Construction
Defect & Construction Law Conference, September 17-18, 2009
o “Commercial General Liability Coverage in the Construction Context,”
Construction Defect Seminar, CGL and Wrap Coverage, Sonoma County Bar
Association, April 30, 2009
« "Aclassroom for mediation," Daily Journal, ADR Profile, November 16, 2012

Background and Education

« Partner, Meredith, Weinstein & Numbers, LLP, 1991-2010

e Partner, Farella, Braun & Martel, 1986-1991; 1980-1981

« Associate, Schlanger, Cook, Cohn, Mills & Grossberg, 1978-1980

e J.D., magna cum laude, Bates College of Law, University of Houston, 1978 (Order of
the Barons and recipient of American Jurisprudence Awards in Evidence, Trusts and
Wills and Bankruptcy)

e B.S., summa cum laude, University of Houston, 1975 (designated as President's
Scholar)

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F: 213-620-0100
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“He is an expert at
becoming an expert’

- Phil Baker, past
president of the
Association of Southem
California Defense
Counsel (2007) and
American Board of Trial
Advocates (2010)

"Those harmed by the
Metrolink collision are
indebted to Judge Peter
D. Lichtman for his
extraordinary service in
resolving the damage
allocations in this case”
- Prominent Los Angeles
trial attomey

Case Manager

Anne Lieu

JAMS

555 W. 5th St.

32nd Floor

Los Angeles, CA 90013
213-253-9706 Phone
213-620-0100 Fax
Email:
alieu@jamsadr.com

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BIOGRAPHY FRESS EVENTS PUBLICATIONS

Hon. Peter D. Lichtman (Ret.) has had a diverse 35-year Jegal and judicial career, most
recently as head of the Los Angeles County Superior Court's Mandatory Settlement
Program. He is also one of the founders of the Superior Court's Complex Civil Litigation
program, and has twice served as the program’s supervising judge. Judge Lichtman
brings a unique perspective toward resolving disputes. Counsel regard him as tenacious,
innovative, and dedicated to making sure matters are resolved expeditiously and
respectfully toward the parties. He is widely respected for his settlement skills, his
approach to cases, and his intelligence and fair mindedness.

Judge Lichtman speaks Portuguese fluently and currently serves as a member of the
Brazilian Consulate’s Conselho de Cidadao and the Brazilian Califomia Chamber of
Commerce,

Please request or click to download Judge Lichtman's biography and introduction letter in
Portuguese.

ADR Experience and Qualifications
» As supervising judge of the Los Angeles County Superior Court's mandatory
settlement program, Judge Lichtman resolved a string of high-profile cases, including
some of the nation's largest damages suits
e Led or managed the resolution of more than $1.5 billion in disputed matters
throughout his career
Skilled mediator and settement judge with extensive experience in complex multi-
party construction defect, insurance, environmental, securities, real estate,
catastrophic personal injury, wrongful death, and employment cases, including wage
and hour class action matters
« Paossesses substantial experience in the area of damage altocations and has been
responsible for allocations in cases involving clergy abuse and the 2008 Metrolink
train collision
« Authored and lectured extensively in California and throughout the United States on
topics including settlements, mediation confidentiality, mass torts, complex litigation,
case management, and class action certifications and settlements

Representative Matters
« Business/Commercial
oe Successfully achieved multi-million-dollar setdement in cases involving wildfire
in Malibu by and among the insurance carriers and various electrical and
telecom utility parties
Reached $22 million settlement in dispute between resort management
company and county over alleged breach of lease agreement
o Settled dispute between construction company and municipality over public
works contract and prompt pay statute for $10.3 million
Settlement judge for $400 million settlement of securities dispute between media
conglomerate defendant and plaintiffs that included major university system and
pension program
Class Action/Mass Torts
o Presided as settlement judge in $125 million settement of class action accusing
several banks of defaulting on lump-sum payments to structured settlement
payees
o Presided over $100 million settlementin sexual abuse lawsuit involving religious
organization
eo Resolved class action dispute for $53 million, ending fraud claims between
investors and high-end travel and excursion company
Construction Defect
o Presided over $12.1 million setdement between synagogue and construction
company accused of deficiencies in recreational and educational facilities built
on synagoque’s campus
o Settled construction defect dispute for $8.1 million in case involving single-family
homes
« Employment
© Class action settlement for $8.2 million in case involving former employees of
fast-food restaurant chain who sued company for alleged labor law violations
« Family Law
o Handled high profile divorce and custody cases
e Insurance
o Achieved multiple settlements totaling more than $37 million in related cases
involving insurance payments over environmental contamination
o Reached $11 million settlementin environmental insurance coverage case
between petrochemical company and insurance carrier

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General Biography

Specialties
Business/Commercial
Class Action/Mass Tort
Construction
Construction Defect
Employment
Energy/utility
Entertainment and Sports
Family Law
Insurance
Intellectual Property
International
Personal Injury/Torts
Pharmaceuticals/Mass Tort
Professional Liability
Real Property
Special Master/ Discovery

Referee

Locations
Los Angeles, California
Orange, Califomia
Las Vegas, Nevada
Inland Empire, California
San Diego, Califomia
Miami, Florida

Available worldwide

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o Reached settlements worth more than $40 million in cases filed against
insurance camiers for allegedly mishandling claims following major earthquake
o Resolved class action involving dispute over insurance company’s allegedly
deceptive disability and term life insurance policies with $92 million settlement
Resolved environmental claims coverage dispute between manufacturing plant
and insurance carriers for $62 million
o Settled coverage dispute for $26 million between insulation company and
insurance carriers
o Worked with out-of-state judge to settle related insurance disputes involving
manufacturing company and carriers
Professional Liability
o Presided over and settled numerous medical and legal malpractice actions
Real Estate

a

Honors, Memberships, and Professional Activities

Recognized as one of Califomia's Top Rising Star Neutrals, Daily Jounal, 2012
Alfred J. McCourtney Memorial Trial Judge of the Year Award, Consumer Attomeys of
Los Angeles, 2003

Member, Association of Business Trial Lawyers’ Board of Govemors, 2008-2010
Member, Los Angeles County Bar, Litigation Section Executive Committee, 2008-
2010

Member, Los Angeles County Superior Court BAJI Committee, 1998-2000

Member, Los Angeles County Superior Court Rules Committee, 1998-2000

Member, Los Angeles County Superior Court Executive Committee

Member Brazilian Consulate's Conselho de Cidad4o and the Brazilian California
Chamber of Commerce

"American Perspectives on the Mediation Concept," (in Portuguese) (in English) An
interview with Peter Lichtman By Andrea Maia

Co-Author, “Getting your class settlement approved,” The Advocate Magazine,
Joumal of Consumer Attomeys Association for Southem Califomia, Jan. 2011

Author, “The leadership role of the judge,” The Advocate Magazine, Journal of
Consumer Attomeys Association for Southem Califomia, Oct. 2005

Author, “The Complex Litigation Program of the Los Angeles Superior Court: Where is
it now? Where is it headed?” LA Lifigator, Sept. 2003

Author, “Practice Tips: Enforcing settlement agreements,” Los Angeles Lawyer, 1986
Author, “Anatomy of a discovery motion,” The Rutter Group, 1984

Author, “The new discovery mules,” Los Angeles Lawyer, May 1982

Co-author, “California pre-trial civil procedure,” LexisNexis, Oct. 2003

Co-author, “Califomia Civil Discovery,” LexisNexis, Oct. 2003

Contributing editor, “Califomia practice guide: Civil procedure before trial,” The Rutter
Group, 1983

Advisory member, Judicial Council's Civil and Small Claims Advisory Committee for
Contributions to Deskbook on the Management of Complex Civil Litigation, Nov. 2004
Updates, Release No. 5 only

Background and Education

Judge, Los Angeles County Superior Court, 1997-2011 (Supervising Judge, LASC
Mandatory Settlement Program, 2010-2011; Justice Pro Tem, Division 8, 2nd District
Califomia Court of Appeal, 2010; Supervising Judge, Complex Civil Litigation, 2009-
2010 and 2002-2003; Assistant Supervising Judge, Complex Civil Litigation, 2000;
Pilot Project Judge, Complex Litigation Program, 2000; Fast Track Civil Calendar
Judge, 1997-2000

Municipal Court Judge, Los Angeles Municipal Court, 1993-1997

Partner, Lichtman & Bruning, specializing in business/commercial and insurance
defense litigation , 1979-1993

Associate, Rasch & Golob, specializing in business/commercial litigation, 1978
Associate, Lasky & Battaglia, practicing general civil litigation, 1977

J.D., Southwestern Law School

B.A., cum laude in Intemational Relations, University of Southem Califomia

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“Truly professional yet
refreshingly friendly to
all...this case never
would have settled
without Judge Leavitt”

- Las Vegas attorney

Case Manager

Scott Parreno

JAMS

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Las Vegas, NV 89169
702-835-7806 Phone
702-437-5267 Fax
Email:
sparreno@jamsadr.com

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BIOGRAPHY PRESS

Hon. Lawrence R. Leavitt (Ret.) joined JAMS following 24 years on the federal bench. He
has vast experience resolving complex fegal disputes, having mediated more than 1,500
cases after being appointed a U.S. Magistrate Judge for the District of Nevada in 1987.
Priar to joining the federal judiciary, Judge Leavitt worked for the Clark County District
Attomey’s Office and the U.S. Department of Justice.

Judge Leavitt has resolved disputes across a wide array of practice areas, including
business/commercial, class action, and intellectual property. He is an expertin
employment matters, having settled numerous cases involving legal issues in the
workplace,

He is highly regarded among counsel for his expertise in the law, his professional
approach to resolving cases, and the pleasant demeanor he brings into even the most
contentious disputes.

Representative Matters
« Banking
o FDIC case against former bank directors and officers for failure of due diligence
in approving failed construction loans
o FDIC case involving quiet title action against foreclosed upon property
« Business/Commercial
e Breach of operating agreement among partners in outpatient surgery centers
eo Dispute conceming payment of services rendered to private health plan
members at VA facilities in Nevada
© Breach of contract matter involving resale of high-end salon products to retaiters
Breach of lease agreement dispute between outdoor advertisement companies
over defective signs
eo Resolved through mediation contract dispute between charter airline and
provider of charter air transportation and related services
« Civil Rights
o Action by promoter and organizer of annual outdoor event against the county
commission, sheriff and district attomey for violation of First Amendment right of
free expression and Fourteenth Amendment right to due process regarding
county licensing fees
eo Mediated multi-million-dollar settlement of civil rights action against two law
enforcement agencies for denial of meaningful access to courts on wrongful
death claim in violation of First and Fourteenth Amendments
o Mediated settlement of civil rights and negligence claims against county child
protective services agency and foster parents following disappearance of two-
year-old child
« Class Action/Mass Torts

o

eo Mediated wage and hour case involving failure to pay overtime and timely pay all

wages due and owing
o Mediation and settlement of dispute in which plaintiffs claimed violations of Fair
Credit Reporting Act
eo Mediation and settlement of ERISA class action arising out of hotel/casino’s
failure to contribute to employee group medical plans
« Employment
e Judge Leavitt has mediated, arbitrated, and presided as a judge over a wide
variety of employment matters, including:
o Benefit and pension plan claims
o Claims alleging sexually hostile workplace environment
o Claims alleging violations of the Fair Labor Standards Act, Family Medical
Leave Act, and Americans with Disabilities Act
e Discrimination actions, including those involving age, gender, and retigion
o Disputes involving breach of employment contracts
o Wage and hour disputes, including individual plaintiff and class action
claims
© Wrongful termination disputes involving retaliatory discharge, fraud, and
defamation claims
« Insurance
© Mediation involving dispute over directors and officers liability insurance policies
© Settlement of breach of contract and bad faith claims against multiple carriers of
professional liability insurance policies
« Intellectual Property
eo Mediated settlement of trademark-infringement case against company accused
of selling “knock-offs’ of plaintiffs distinctive guitars
e Personal Injury
o Arbitration among three defendants to determine their respective contributions to

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General Biography

Specialties
Business/Commercial
Employment
Federat Judge
Intellectual Property

Locations

Las Vegas, Nevada

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global $825,000 settlement of two personal injury claims
© Arbitration involving injuries sustained in motorcycle accident
o Mediation between two companies over responsibility for fire during construction
of building
e Product Liability
eo Mediated resolution of product liability case involving failure of titanium screws
and rods inserted during back surgery
e Real Property
o Mediated dispute involving purchase of penthouse condominium in
major hotel/casino

Honors, Memberships, and Professional Activities
« Member, State Bar of Nevada, 1970-present
« Member, Clark County Bar Association
« Nevada American Inn of Court, 1989-present (President, 1991-1993)

Background and Education
« U.S. Magistrate Judge for the District of Nevada, 1987-2011
« Trial Attomey and Chief, Las Vegas Organized Crime Strike Force, U.S, Department
of Justice, 1981-1987
Chief Assistant U.S. Attomey, District of Nevada, 1978-1981
Deputy and Chief Deputy District Attomey, Clark County, Nevada, 1972-1978
J.D., University of California, Berkeley School of Law (formerly Boalt Hall School of
Law)
e MA, University of Califomia, Berkeley
« BA,, University of Hllinois

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Recognized as a “Best
Lawyer’ in The Best
Lawyers in America,
2012-2016

“Super Lawyer’ in
Mountain States Super
Lawyers, 2007-2014

In mediation and
arbitration, Eleissa is
“conscientious, relentless,
well prepared.”

- Prominent Las Vegas
atfomey

Case Manager

Michelle Martelli
JAMS

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Las Vegas, NV 89169
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mmartelli@jamsadr.com

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BIOGRAPHY PRESS EVENTS PUBLICATIONS

Eleissa C. Lavelle, Esq. has more than 30 years of experience as a mediator, arbitrator,
litigator and transactional! attomey., As a member of JAMS Global Engineering and
Construction Group, Ms. Lavelle brings unparalleled experience as a mediator, arbitrator,
and trial, appeliate and transactional counsel in a wide range of commercial disputes. She
brings a calm, assured, and common-sense approach to arbitrating and mediating
complex, high emotion and contentious disputes.

Ms. Lavelle has worked with developers, lenders, construction managers, contractors,
subcontractors and sureties in connection with the development and construction of public
facilities, hotels and casinos, shopping centers, office buildings, warehouse facilities and
multi-family residential projects. She has resolved disputes arising out of the acquisition,
sale and dissolution of a variety of business enterprises, including the emotional as well
as financial conflict involved in resolution of family business and trust administration
disputes, Ms. Lavelle has mediated and arbitrated disputes involving common interest
communities, Ms. Lavelle has also resolved disputes involving financial institutions,
lenders, the FDIC, investors and title companies, owners and tenants of regional malls,
shopping centers, office buildings and other commercial property, and a variety of other
local and national businesses. She has also settled legal malpractice cases arising out of
real estate transactions, as well as premises liability and other personal injury claims.

ADR Experience and Qualifications
« L.L.M. Degree in Dispute Resolution, Straus Institute, Pepperdine University School
of Law
« Drafted legislation promoting mediation and arbitration for common-interest
communities
« Appointed by the Nevada Supreme Court as one of its first settlement judges

Representative Matters
« Business/Commercial
o Contract, secured transactions, valuation, business entity dissolutions, buy-sell
agreements, and shareholder disputes, including:
o Disputes involving business buyouts and non-compete agreements
o Disputes involving inter-creditor agreements and disputes among
participating lenders
o Enforcement of guarantee agreements, deeds of trust, and other secured
transactions
o Shareholder and limited liability company member claims of fraud, breach of
fiduciary duty, and mismanagement
« Construction
o Delay, disruption, defective construction, surety, and licensing disputes between
and among public and private owners, construction managers, contractors,
subcontractors, and sureties, including:
© Coverage and indemnity disputes under surety agreements
© Defective construction claims involving individual single family homes,
residential development, and commercial properties
o Delay and disruption claims
o Enforcement and priority of mechanic's liens
o Insurance coverage disputes in connection with defective construction
claims
« Insurance/Surety
o General liability, malpractice, title insurance, and surety agreements, including:
o Coverage disputes arising from legal malpractice, real estate, title,
construction, and general commercial liability policy disputes
eo Enforceability of payment and performance bonds
o Enforcement of indemnity agreements
o Title insurance coverage claims involving alleged broken priority in
construction projects
o Disputes canceming title insurance coverage, including disputes among title
insurers
e Financial Markets
eo Represented clients in matters and and conducted mediations and arbitrations
for banks, financial institutions, and regulatory agencies. Matters include inter-
lender disputes, loan participation disputes among lenders, and disputes
conceming solicitation and participation of investors in loan transactions,
including fraud and breach of fiduciary duty claims.
« Personal Injury
o Cases involving personal injury and wrongful death claims, including:
eo Automobile accident case tried to jury and reversed on appeal

General Biography

Specialties

Arbitration
Business/Commercial
Construction

Construction Defect
Engineering and Construction
Estates/Probate/Trusts
Personal Injury/Torts
Professional Liability

Real Property

Locations

Las Vegas, Nevada
inland Empire, Califomia
Los Angeles, Califormia
Orange, Califomia

San Diego, California

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o Wrongful death case involving alleged negligent design of freeway bypass and
signage

« Professional Liability
eo Legal and medical malpractice, including:

o Established Nevada’s first Office of Bar Counsel and subsequently
appointed on Nevada State Bar arbitral panels overseeing alleged ethical
violations and attorney malfeasance

o Legal matpractice disputes involving real estate and commercial
transactions

o Litigated both legal and medical malpractice cases

« Real Property
o Common-interest communities, purchase and sale agreements, title and
easement disputes, condemnation and valuation matters, and commercial
Jandlord-tenant disputes, including:

eo Condemnation by public authorities and utilities

© Interpretation and enforcement of restrictive covenants in common-interest
communities

eo Super-priority issues involving community associations and lenders

o Title and competing priority disputes among secured lenders and
developers

o Title and competing priority disputes among secured lenders and
mechanic's tien claimants

o Distressed commercial developments involving sophisticated lenders,
developers, guarantors and title companies

eo Competing title and priority disputes involving lenders, contractors, title
insurers and other lienholders

e Commercial landlord-tenant disputes, including those involving tenant

improvements, alleged abandonment of shopping centers by anchor
tenants, repair issues and other lease disputes

Numerous premises liability cases

o Matters involving ground, shopping center, telecommunication and office
building leases

Dispute conceming alleged violations of restrictive covenants, breach of
contract and statutory obligations among community associations, owners
and community managers

Disputes regarding valuation of real property, and real estate brokers and
sellers

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Honors, Memberships, and Professional Activities
« Recognized as a “Best Lawyer’, The Best Lawyers in America, 2012-2016
» Recognized as a “Super Lawyer’, Mountain States Super Lawyers, 2007-2014
« Adjunct faculty member at Boyd School of Law, University of Nevada, Las Vegas
eo Real Estate Finance
o Negotiation
Fellow, Chartered Institute of Arbitrators
Nevada Supreme Court Settlement Judge
Faculty, National Institute of Trial Advocacy, 2013-2014
Mediator, U.S. District Court for Nevada’s Section 1983 Inmate Early Mediation
Program
« Member, Clark County School District Bond Oversight Committee
« Drafted legislation invalving dispute resolution systems and processes for common
interest communities
« Admitted
o U.S. District Courts of Nevada
o U.S. District Courts of Utah
o U.S. Court of Appeals for the Ninth Circuit
« Member
eo State Bar of Nevada
eo Utah State Bar

Recent Publications
« “Timing Is Everything: Balance Risk and Opportunity to Decide When to Mediate”,
JAMS Global Construction Solutions, Spring 2014
« “Payment and Lien Statutes Are Potential Landmines’, Modem Contract Solutions,
2010

Speaking Engagements
e "Effective Use of Experts in Arbitration”, State Bar of Nevada Annual Meeting, 2014
« “Ethical Aspects of Building an Arbitration Practice’, American Bar Association

Webinar, 2013

“Legislative Update: Common Interest Community Operation, Management and

Dispute Resolution’, State Bar of Nevada Webinar, 2013

Settement Conference Training, Clark County District Court Judges, 2013

e “Strategies to Streamline Your Arbitration’, Southem Nevada Association of Women
Attomeys, 2013

« “Strategies for Managing Disputes and Claims Without Litigation”, Construction
Management Association of America, South Nevada Chapter, 2012

Background and Education

Partner, Duane Monis LLP

« Partner, Watt, Tieder, Hoffar & Fitzgerald LLP

« L.L.M. Degree in Dispute Resolution, Straus Institute at Pepperdine University School

of Law

Shareholder, Lavelle & Associates, PC

State Bar of Nevada’s First Bar Counset

J.D., University of Utah

B.A., University of Utah, magna cum laude, Phi Beta Kappa and Phi Kappa Phi
o Phi Beta Kappa
o Phi Kappa Phi

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Specialties
T: 702-457-5267 Avbitration
F702-437-5267 + Floyd A. Hale, Esq, is an experienced dispute resolution professional with specialized Construction Defect
ownload vCa' training in construction defect and contractor litigation and arbitration.
Insurance
Recognized as one of the ADR Experience and Qualifications Personal Injury/Tarts
“500 Leading Judges in « Appointed Special Master in both state and federal courts in more than 200 complex . van
America,” by Lawdragon law suits involving hotels and casinos, developers, contractors and subcontractors, Professional Liability
Magazine, 2006 state agencies, home owner and condominium associations Real Property

Served as Co-Chair of Discovery Committee in Mass Disaster Litigation

Nevada Supreme Court Settlement Judge Special Master/Discovery

Case Manager

Debbie Holloman e After 25 years of practice, he has served full time as a special master, arbitrator, and Referee
JAMS mediator for eight years

« General practice included jury trials and appellate practice in both state and federal .
Pkwy tee con courts involving personal injury, contract issues, construction litigation, medical Locations
Las Vegas NV 89169 malpractice, legal malpractice, pharmaceutical malpractice, real estate disputes, and Las Vegas, Nevada
702-835-7804 Phone insurance coverage issues Available to hear cases
702-437-5267 Fax Representative Matters nationwide.

Email:

dhotloman@jamsadr.com « Appointed as special master in litigation involving the following hotels: Flamingo

Hilton, Venetian Hotel and Casino, Aladdin Hotel and Casino, Mandalay Bay Hotel
and Casino, New York - New York Hotel and Casino, Resort at Summeniin, Bellagio,
and others

« Handled numerous class actions, including a case with more than 40,000 plaintiff
medical patients

« Mediated and arbitrated complex personal injury, real estate, multi-district complex

litigation, product liability, contract, and construction defect cases

Mediated cases involving the FDIC and major banking institutions

Served as mediator and arbitrator for Southwest Gas and NV Energy public utility

companies

e Served as special master in complex litigation involving construction defect and
personal injury

« Served as special master on Grand Canyon Skywalk case

e Special master for products liability case involving more than 100,000 residences

Honors, Memberships, and Professional Activities

« Recognized as one of the “500 Leading Judges in America,” by Lawdragon

Magazine, 2006

AN rated by Martindale Hubbell

Member, State Bar of Nevada

Member, State Bar of Oklahoma

Former Director of Clark County Bar Association

Appointed as a Nevada Supreme Court Settlement Judge

Appointed by the Nevada Supreme Court as a bar examiner for the State Bar of

Nevada

« Admitted to practice: Nevada, 1975; Oklahoma, 1974; United States District Court,
District of Nevada, 1975; United States Court of Appeals, Ninth Circuit, 1980; United
States Supreme Court, 1980

« Lecturer for seminars sponsored by the Nevada Bar Association, Clark County

Nevada Bar Association, and the National Business Institute, Inc.

Author. "Implied Covenants with Common Oil Leasee," Tulsa Law Joumal, Vol. 9, No.

2,1973

e Contributing author: “Nevada Civil Practice Manuai," Nevada Bar Association, 1988

Background and Education
e Arbitrator, Mediator, and Special Master; former partner for 30 years in litigation firm:
Edwards, Hale, Sturman & Cushing (which merged with the Wilson Elser firm with
offices worldwide)
e J.D., University of Tulsa, 1973
e BA, University of Missouri, 1971

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Case Manager

Scott Parreno

JAMS

3800 Howard Hughes
Pkwy., 11th Floor

Las Vegas, NV 89169
702-835-7806 Phone
702-437-5267 Fax
Email:
spameno@jamsadr.com

http./Awww_.jamsadr.com/hager/

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BIOGRAPHY PRESS

Hon, David Warner Hagen (Ret.) joined JAMS after a distinguished legal career,
including more than a decade as a United States District Judge. While on the bench, he
and his colleagues established a settlement environment by requiring court-annexed
mediation for every civil case set for trial in his district.

ADR Experience and Qualifications
« Asa United States District Judge, he presided over hundreds of jury and bench trials
in intellectual property, commercial, employment, construction, real property, and
personal injury cases, Judge Hagen also engaged in courtannexed mediation in
multi-party construction defect, inverse condemnation, real estate, and employment
matters.

Representative Matters
« Insurance
« Class Action
© Automotive, aviation, bankingAinance, consumer protection, discrimination,
employment, insurance, product liability/mass tort, etc.

Personal Injury

Intellectual Property

o Patent infringement, copyright, trademark, and trade secrets litigation

« Employment

o Wrongful termination; sexual harassment; gender, age, and disability
discrimination titigation, etc.

« Commercial

eo Contract, banking, and secured transactions litigation

e Real Property

Inverse condemnation, specific performance, and premises liability

Construction Defect

o Contracts, E&O claims, engineering, manufacturing, public works, product
claims, real estate development, etc.

« Arbitrator, ICC Intemational Court of Arbitration (IGT v. Promotora Starwin et al.)

Special master, Nevada class action (Verderber v. Reno Hilton)

Special master, Nevada gold mining claims dispute (Coeur Rochester, Inc. v. Rye

Patch Gold US Inc. and Rye Patch Gold Corp [Canada])

« Tripartite arbitration, Nevada commercial real property dispute (Hotels Nevada v. LA

Pacific Center)

Arbitrator, Breach of contract dispute (Ganassi Racing v. Lifelock)

Arbitrator, Breach of contract dispute (RB Insurance Group, LLC v. Sterling Life

Insurance Company)

e Arbitrator, Breach of contract dispute (Nelson Electric Company, Inc. v. Pacific-
Mountain Contractors, Inc.)

« Tripartite arbitration, Breach of contract dispute (South Edge, LLC and Focus South
Group, LLC v. KB Home Nevada, Inc., Coleman-Toll Limited Partnership, Pardee
Homes of Nevada, Beazer Homes Holding Corp., and Meritage Homes of Nevada,
Inc.)

Honors, Memberships, and Professional Activities

« Fellow, Chartered Institute of Arbitrators

« Fellow, American College of Trial Lawyers, State Chair, 1983-1985; Committee on
Altematives for Dispute Resolution, 2000-2004
Advocate, American Board of Trial Advocates
Qualified arbitrator, ICC Intemational Court of Arbitration
Lecturer, Intemational Arbitration, University of San Francisco School of Law, 2006
Adjunct Trial and Motions Practice Instructor, Department of Justice National
Advocacy Center, University of South Carolina, 2000-present
Chair, Nevada Bar Exam Study Committee, 2005-2007
Best Lawyers in America (Commercial Law), 1991-1992
Ninth Circuit Article ill Judges Education Committee, 1996-2000; Chair, 1998-2000
Judges Committee, Federal Circuit Bar Association, 2001-2005
Nevada Board of Bar Examiners, 1972-1991; Chair, 1989-1991
Member, State Bar of Califomia and State Bar of Nevada

Background and Education
e United States District Judge for the District of Nevada, 1993 until retirement
« Adjunct Professor, Nevada School of Law at Old College, 1981-1987; Acting Dean
1981-1983
Law Lecturer, University of Nevada, 1968-1972
LL.B., University of San Francisco Law School

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General Biography

Specialties

Arbitration

Business/Commercial

Construction Defect

Employment

Federal Judge

Intellectual Property

Personal Injury/Torts

Real Property

Special Master/Discovery
Referee

Locations

Las Vegas, Nevada
Sacramento, Califomia
San Francisco, Califomia
Santa Rosa, Califomia
Silicon Valley, Califomia
Walnut Creek, Califomia

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« B.B.A. (Finance), University of Wisconsin

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Counsel and clients
praise Judge Haberfeld
for his ability to quickly
gain the confidence ofall
parties and fo appreciate
the central issues
involved; for his creativity
when called for in
resolving even seemingly
intractable and the most
contentious disputes; and
for his fair, efficient,
considered and
considerate treatment of
all participants and
matters.

Case Manager

Jo-El Fequiere

JAMS

555 W. 5th St.

32nd Floor

Los Angeles, CA 90013
213-253-9740 Phone
213-620-0100 Fax
Email:jfequiere@jamsadr.com

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Hon. Stephen E, Haberfeld (Ret.), widely respected as a charismatic, accomplished, and
effective mediator and arbitrator, brings a wealth of talent and three decades of dispute
resolution experience to JAMS. Judge Haberfeld is frequently selected to resolve the mast
complex and contentious disputes.

ADR Experience and Qualifications
e Judge Haberfeld has successfully resolved a broad range of complex disputes
involving business/commercial, class action, intellectual property, entertainment,
insurance, real estate, construction, employment, estates and trusts, insurance,
securities, civil rights, and antitrust matters.

Representative Matters

Arbitrator of California statewide wage-and-hour class action

Arbitrator of “Enron"-type action, based on allegedly false and misleading financial

information in connection with “for stock only” sale by seller of closely-held private

company to public company

Arbitrator, consultant, and symposium panel leader conceming the interpretation and

application of e-discovery amendments to the Califomia Cade of Civil Procedure and

Federal Rules of Civil Procedure

Arbitrator of dispute over allegedly discriminatorily coerced departure of nationally-

known attomey from famed intemational law firm

Arbitrator of dispute between major studio and author over prominence of placement

of claimed “source material" screen credit in motion picture starring Academy award-

winning actress and actor and directed by Academy award-winning director

Arbitrator and mediator of business disputes conceming corporate governance and

alleged violations of duties of loyalty and care (e.g., corporate opportunities doctrine,

business judgment rule, etc.)

Arbitrator of business dispute over non-renewal of leading sub-prime unsecured

credit card issuer bank's contract for direct marketing services

Discovery referee of nationally reported dispute over allocation of interests in $107

million court judgment

Mediator of dispute between well-known actor and production company over co-

ownership and value of co-ownership of copyright of hit network TV series

Chair of three-person panel in mock arbitration in connection with nationwide class

action employment sex discrimination litigation

Mediator of multi-county wage-and-hour class action

Arbitrator and mediator of business valuation disputes

Atbitrator and mediator of business disputes conceming whether co-shareholder/

LLC member-employee terminated "for cause" or under “morals clause" or otherwise,

as affecting primarily valuation of stock/membership interests and other contractual

benefits

Mediator of nationally reported dispute between East Coast and West Coast

organizations bearing similar names, famous for their nationally famous celebrity

"roasts"

Mediator of dispute between premier motion picture creature creator and leading

video game publisher over contract provision governing motion picture deal for

successful game involving creator's creatures

« Arbitrator and mediator of patent and trade secrets dispute over rights to processes
involved in the manufacture of synthetic wood products

* Sole arbitrator in contract dispute involving famous actress’s compensation as

celebrity spokesperson for brand of beauty products

Mediator of landmark settlement of denial of "special needs” education claims under

the federal Individuals With Disability Education Act and related federal and state law

« Chair of three-person entertainment arbitration panel, contract dispute conceming

international pop star's eleventh-hour cancellation of concerts abroad

Chair of three-person entertainment arbitration panel, contract dispute conceming

famous TV comedy star's video distribution rights to favorite skits from famous

“Golden Age of Television" shows

Mediator of entertainment and intellectual property dispute conceming alleged

misappropriation of concepts central to intemationally famous director's theatrical

motion picture production

Sole arbitrator in "Bond girl" contract dispute

Mediator of Intemet copyright dispute over texts of management and leadership

lessons leamed from episodes of hit network reality TV show

Sole arbitrator in contract dispute between suddenly successful actress/screenwriter

and her former personal manager

Mediator of dispute conceming copyright, ttademark, and trade dress violations

alleged in connection with importation, marketing, and distribution of Chinese "knock-

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General Biography

Specialties

Antitrust

Arbitration
Business/Commercial
Civil Rights

Class Action/Mass Tort
Employment
Entertainment and Sports
Estates/Probate/Trusts
Federal Judge

Financial Markets
Governmental/Public Agency
Intellectual Property
Intemational

Locations

Los Angeles, California
Las Vegas, Nevada
Orange, Califomia
Inland Empire, Califomia
Santa Monica, Califomia

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offs" of U.S. IP-protected and manufactured products

« Chair of three-person arbitration panel in contract dispute focusing primarily on
alleged violations of non- competition agreements involving major providers of
medical imaging services in Southem Califomia

« Member of three-person arbitration panel in dispute conceming contract termination

and trademark infringement claims involving former manufacturer and distributor

becoming competitors in marketing, distribution, and sale of automotive flushes and

lubricants

Mediator of class action wage and hour dispute and arbitrator of class action antitrust

settlement fund allocations

« Chair of three-person commercial panel in dispute conceming responsibility for large
insurance deductible in connection with sale of division by one major corporation to
another

* Sole arbitrator of entertainment dispute conceming composer's claimed rights to
additional compensation for re-released recorded works

« Sole arbitrator conceming insurance coverage issues triggered by title company's
material omission in real property title reports

« Mediator in entertainment/sexual harassment dispute; and mediator in landlord-

tenanticivil rights discrimination dispute

Arbitrator of business dispute between competitor/former pariners in on-line day

trading educational services

Mediator and referee of highly emotional, contentious intra-familia! probate and

conservatorship disputes

Honors, Memberships, and Professional Activities
Elected Fellow, College of Commercial Arbitrators
Setilement Judge, Nevada Supreme Court, 2003-present
Received comprehensive training in JAMS in-house Entertainment Law workshops
including, but not limited to:
o "Net Profiects and New Media: The Future of Entertainment Litigation"
0 “Legal issues and Developments in Video Game Law"
Former member, "Blue Ribbon" panels, AAA and NASD
Former member, National Panel of Arbitrators, AAA, 1972-2004 (AAA Large and
Complex Commercial Cases Panel)
Panel of Arbitrators, Writers Guild of America
Adjunct Professor, Pepperdine University School of Law, 1979-1986, 1990
U.S. Postal Service Redress | & II EEO Mediation Panel, 1998-present
Probate Mediation Panel, Los Angeles Superior Court, 1998-present
Co-Author, "Evaluating the Pros and Cons of ADR in Patent Claim Construction"
(2007)
« Co-Author, "Closing Argument" (segments section), California Trial Guide (Matthew
Bender 1992)
e Author, Comment, "The Problem of the Faithless Elector," 6 Harvard Journal on
Legislation 254 (1969)

Background and Education

e U.S. Magistrate Judge, U.S. District Court, Central District of Califomia, 1988-1992

« Partner, Haberfeld & Haberfeld, Los Angeles, 1978-1988; 1992-present

« Partner and Associate, Agnew, Miller & Carlson, Los Angeles, 1975-1978

« Assistant Watergate Special Prosecutor, Watergate Special Prosecution Force,
t Washington, D.C., 1973-1975
Associate, Harold E, Kohn, P.A,, Philadelphia, 1971-1973
Law Clerk to Judge Leonard P, Moore, U.S. Court of Appeals, 2d Circuit, New York,
NY, 1970-1971
J.D., Harvard Law School, 1970 (Article Editor, Harvard Journal on Legislation)
Master in Public Affairs, Princeton University, 1967
B.A., summa cum laude, UCLA (Valedictorian, Phi Beta Kappa, Regents Scholar),
1965

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General Biography

BIOGRAPHY PRESS EVENTS Specialties
T: 619-236-1848 Arbitration
F: en oe: ad Hon. Irma E. Gonzalez (Ret) joined JAMS following a judicial career spanning nearly 30 Business/Commercial
years. She was appointed to the United States District Court for the Southem District of a
Califomia in 1992, serving as Chief Judge from 2005 to 2012. Prior to her appointment to Civil Rights
Case Manager the federal bench, Judge Gonzalez also worked as an assistant U.S. Attomey in the Class Action/Mass Tort
. Criminal Prosecution division for the District of Arizona and in Los Angeles, as well as an
Lisa Abrantes Employment

attomey in private practice. She later served as a U.S. Magistrate judge and a San Diego

JAMS V i
erior Court judge.

401 B Street County Superior Court judge

Sane ace Highly regarded among counsel for her faimess and deep knowledge of legal issues,

San Diego, CA 92101 Judge Gonzalez brings an experienced approach to resolving even the most complex and
619-237-0801 Phone contentious disputes. Her background makes her an ideal arbitrator, mediator, and special
619-236-9032 Fax master for cases involving a wide range of issues, including business, class action,

- Email: employment, intellectual property, and securities matters, among others. Judge Gonzalez
labrantes@jamsadr.com is also fluentin Spanish.

Representative Matters
« Intellectual Property
o Experience handling variety of intellectual property matters, including cases
involving patent, trademark, and copyright issues
o Please visit Judge Gonzalez’s intellectual property biography for a detailed list of
representative matters
« Securities
© Class action brought by investors in mutual funds against seller of systematic
investment plans sold primarily to military personne!
o Lawsuit for securities fraud brought by investors who purchased company’s stock
o Securities and Exchange Commission complaint against defendants alleging
they violated securities laws by offering and selling unregistered securities and
making false representations
« Class Action/Mass Tort
oe Consumer
o Class action by consumers against manufacturer of defective televisions
under Califomia Unfair Competition Law (UCL), False Advertising Law
(FAL), Consumer Legal Remedies Act (CLRA), Califomia Song-Beverly
Consumer Warranty Act and federal Magnuson-Moss-Warrant Act
© Class action under CLRA, UCL, and Class Action Faimess Act (CAFA)
based upon sale of three of defendant's products
o Consumers’ class action alleging false representations in advertising and
labeling of its cereal products, under UCL, CLRA, and CAFA
o Wage and Hour
o Bus drivers’ class action for violations of Califomia Labor Code and Wage
Order 9, UCL, and Califomia Labor Codes §§ 558 and 203 for failing to
provide meals and rest periods
o Class action brought by mechanic helpers fo recover wages on work days
for which they did not take meal periods under California Labor Code
o Former employees’ action for defendants’ alleged systematic wage and
hour violations under federal and state law
« Employment
o Action brought by plaintiff under Califomia Fair Employment and Housing Act
(FEHA) for unlawful termination on basis of mental disability and failure to
accommodate
o Employee action alleging violations under Title VIl for hostile work environment
and discrimination stemming from retaliation for filing EEO complaints
o Former employee’s suit alleging disability discrimination under Americans with
Disabilities Act
o Lawsuit brought by employee alleging failure to make reasonable
accommodation for her disability under FEHA
« Business/Commercial
o Breach of contract action brought by plaintiff against defendants conceming
purchase and sale of 63 airplane engine fan blades
© Class action brought by individuals who enroiled in online business school and
alleged fraud, failure to provide services paid for, and various other California
Business Code violations
Complaint filed under Employee Retirement Income Security Act (ERISA) for
breach of fiduciary duty, negligent misrepresentations, and fraud and deceit
under Califomia Civil Code
eo Former employee’s breach of contract action for failure of employer to pay post-
termination wage commissions
e Environmental
e Action brought under the Endangered Species Act (ESA) and Administrative

a

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Federal

Intellectual Property
Maritime/Admiralty
Securities

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Procedure Act (APA) seeking judgment that Secretary of the Interior failed to
perform mandatory, non-discretionary duty under ESA in failing to designate new
critical habitat for certain plant species
Action seeking judgment under National Environmental Protection Act and APA
attacking presidential permits and federal rights-of-way to build electricity lines
within the United States and across the U.S.-Mexico border to connect power
plants in Mexico with power grid in Southem California
« Civil Rights

o Arrestee 42 USC § 1983 action against county and sheriff deputies alleging
unlawful seizure and excessive force, as well as state law claims for negligence,
battery, and false arrest
Lawsuit brought by plaintiff under 42 USC § 1983 and various state laws against
county and deputy sheriff for violating his civil rights that occurred upon
execution of search warrant
Lawsuit brought under 42 USC § 1983 against city and various offices for
wrongful death, excessive force, failure to properly train, and various state law
claims
e Constitutional Law

° Action alleging sheriffs policy of requiring applicants who apply for carrying
concealed weapon license to show good cause violates Second Amendment
Action braught by plaintiffs challenging constitutionality of city’s campaign
finance laws on First Amendment grounds
First Amendment challenge to constitutionality of city’s municipal code that
prectuded plaintiff from operating adult store

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Honors, Memberships, and Professional Activities
Lifetime Achievement Award, Hispanic National Bar Association, 2013
Honored at Sixth Annual Judiciary Reception, San Diego La Raza Lawyers
Association, 2013
Joan Dempsey Klein Distinguished Jurist Award, Califomia Women Lawyers, 2011
Outstanding Jurist Award, San Diego County Bar Association, 2008
Member, Lawyers Club of San Diego
Advisory Board, San Diego La Raza Lawyers
Board of Visitors, University of Arizona James E. Rogers College of Law
Board of Trustees, Califormia Westem School of Law
Member, California Women Lawyers
Member, National Association of Women Judges
Judicial Advisory Board, Association of Business Trial Lawyers of San Diego
Master, William B. Enright Inn of Court
Advisory Board, Federal Bar Association, San Diego Chapter
Co-Chair, Federal Practice Task Force of the American Bar Association Section of
Litigation, 2011-2013
« Member, Supreme Court Fellows Program Commission, 2011-present
o Appointed as chair in 2012
Chair, Ninth Circuit Judicial Conference, 2010
President, Ninth Circuit District Judges Association, 2009-2011
Member, Judicial-Conference Committee on Judicial Security, 2008-2013
Member, Ninth Circuit Judicial Councit, 2007-2010
Member, Ninth Circuit Space and Security Committee, 2006-2013
Member, Federal Judicial Center Benchbook Committee, 2003-2009
o Appointed as chair in 2009
« Member, Judicial Conference Committee on the Administration of the Magistrate
Judge System, 1998-2005
« Founding Member, Latinas in the Law
¢ Participant, Children at Risk
« "Enterprising Evaluator," Daily Journal, ADR Profile, July 17, 2015

Background and Education
* United States District Court Judge, Southem District of Califomia, 1992-2013
© Chief, 2005-2012
o Senior status, 2013
Judge, San Diego County Superior Court, 1991-1992
U.S. Magistrate Judge, Southem District of California, 1984-1990
Associate, Seltzer, Caplan, Wilkins, & McMahon, 1981-1984
Assistant United States Attorney, Criminal Prosecution Division, District of Arizona
and Central District of California, 1975-1981
Law Clerk, Hon. William C. Frey, United States District Court for the District of Arizona,
1973-1975
J.D., University of Arizona
B.A., Stanford University

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one of the best
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- Chambers USA

“[A] go-fo person for
construction matters
involving arbitration or
mediation.”

- Chambers USA 2015

"Did an absolutely
fantastic job in extremely
trying circumstances”

- Quotes from peers and
clients in Who's Who
Legal Califomia, 2009

Selected as a Southem
Califomia Super Lawyer
in the field of Alternative
Dispute Resolution, 2004-
2015

Designated with the
highest-level ranking
(Band 1) in construction,
Chambers USA 2005-
2015

Case Manager

Michael Dawson

JAMS

555 W. 5th St.

32nd Floor

Los Angeles, CA 90013
213-253-9776 Phone
213-620-0100 Fax
Email:
mdawson@jamsadr.com

http/Avww.jamsadr.com/gibbs/

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BIOGRAPHY PRESS EVENTS PUBLICATIONS

Kenneth C. Gibbs, Esq. is one of the leading neutrals in the United States and worldwide
with expertise in mediating and arbitrating construction, engineering, real estate, energy,
surety, insurance coverage, insurance subrogation, and business disputes. He has been
designated with the highest-level ranking (Band 1} in construction mediation by Chambers
USA each year since the inception of the publication (2005-2015), Chambers USA has
described Ken as “universally acclaimed as one of the best practitioners out there,” as a
“construction law guru," and “a leading figure in the field of mediation.”

Mr. Gibbs has successfully mediated more than 2,500 cases and has arbitrated over 200
cases in 24 states involving collectively billions of dollars in claims. He is well known for
his ability to establish great rapport with clients and for his evaluative skills in getting
parties to recognize their risks. He is attuned to the financial, political and other pressures
facing parties in disputes and can quickly assess the strengths, weaknesses, and nuances
of each side of a case. He gives his undivided attention to resolving each case, a requisite
fo resolving particularly complex, multi-party disputes.

Representative Matters

e Business/Commercial: Mr. Gibbs has arbitrated or mediated hundreds of
commercial cases involving millions of dollars in claims. Representative matters
include:

© Arbitrated dispute regarding interpretation of indemnification provision in an
agreement between national railroad company and local transit authority

e Mediated claim of breach of maintenance provision between a hospital and a
vendor

o Mediated licensing dispute related to patent issues on pipeline technology

o Mediated dispute involving cruise line operator and a naval architecture and
engineering firm

© Arbitrated dispute between Jandlord and national department store chain relating
to lease renewal

eo Mediated several disputes between large national grocery store chain and
landlords relating to lease issues

eo Mediated dispute among partners of major law firm regarding valuation of
departing partner's share in partnership

« Engineering and Construction: Mr. Gibbs has mediated and arbitrated thousands of
construction disputes in 24 states involving claims of delay, disruption, cost overruns,
acceleration, defect and breach of contract. He is the co-author of Califomia
Construction Law, one of the most cited treatises on the subject. Representative
matters include:

o Mediated disputes conceming engineering and construction of data centers in
Silicon Valley and Utah
o Has arbitrated more public agency disputes than any other arbitrator as a
member of the special panel established by the State of Califomia Office of

Administrative Hearings

Mediated disputes involving claims of cost overruns in construction of stadiums

and convention centers in Seattle, San Diego, Pittsburgh, Oakland, and Phoenix

Mediated public infrastructure construction project disputes involving transit light

rail in Seattle, Las Vegas monorail project, tunneling through San Bemardino

Mountains project, seismic retrofit of Golden Gate Bridge,

e Arbitrated or mediated numerous heavy construction projects such as dams,
roads, and highways

o Arbitrated or mediated construction disputes involving public buildings such as
hospitals, prisons, water treatment plants, power plants, schools, and
universities

o Arbitrated or mediated private building construction disputes involving high rise
office buildings, major hotels, high rise condominiums, and private hospitals

eo Arbitrated or mediated numerous surety claims involving payment and
performance bonds

e Energy/Utility

o Mediation and arbitration arising from construction of nuclear plants in Georgia
and Califomia

o Mediation of disputes arising from oil rig and refinery exptosions and fires

o Arbitration of issues arising from conversion of electric generating plant in
Pennsylvania from coal to natural gas

o Mediation of disputes arising from construction of natural gas pipeline from
Louisiana to Texas

9 Arbitration of disputes arising from construction of solar electrical generating
plants in Califomia and Arizona

oe Mediation of disputes arising from construction of 6985mw coal buming electrical

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General Biography

Specialties
Arbitration
Business/Commercial
Construction
Energy/utility

Engineering and Construction

Insurance
intemational
Real Property
Surety

Locations
Los Angeles, California
Inland Empire, Califomia
Las Vegas, Nevada
New York, New York
Orange, Califomia
Sacramento, California
San Diego, Califomia
San Francisco, Califomia
Santa Monica, Califomia
Santa Rosa, Califomia
Seattle, Washington
Silicon Valley, California

Wainut Creek, California
Available worldwide

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generating plant in West Virginia
° Mediation of construction of hydro electrical plant in Mexico
o Arbitration of disputes arising from 600 mw petcoke (Petroleum coke) buming
electrical generating plantin Louisiana
o Dispute resolution relating to construction of major geothermal electrical
generating plantin California
o Mediation of disputes arising from wind farm construction in Califomia
o Mediation of dispute between utility and major refinery regarding fluctuations of
amperage supplied by utility
« Insurance
o Subrogation: Mr. Gibbs has mediated hundreds of subrogation cases usually
resulting from losses caused by fires or water intrusion
o Mediated matter conceming liability for wildfire injuries and damage to
homes, buildings, and personal property
eo Mediated matter arising from electrical fire resulting in numerous
consolidated cases and more than $45M in claims
o Inter-carrier Disputes: Resolved numerous inter-carrier disputes involving a
wide range of issues including:
o Priority of primary and excess policies
o Contribution and indemnity daims
o Interplay between builders risk and liability insurance
o Insurance Coverage: Mediated numerous coverage disputes between insured
policy holders and insurance carriers
o Bad Faith: Resolved numerous disputes involving the alleged bad faith refusal
to defend and indemnify
« Real Estate
o Mediated numerous title insurance matters involving claims against title
insurance including priority issues, lot line issues, and mechanics lien issues
o Aprbitrated dispute involving the allocation of the proceeds received from the sale
ofa parcel next to the Hallywaod Sign and the rights of the parties to the
proceeds from the sale
o Mediated dispute between a project owner and a national property management
company concerning property management services provided ta four military
bases with privatized military housing
Mediated dispute conceming action to collect on two defaulted construction
loans in the aggregate amount of approximately $30 million .
Mediated disputes between adjacent land holders related to slope failures and
landslides
Mediated breach of contract dispute between broker and prospective property
purchaser
Mediated dispute over residential lease deposit and alleged property damage
Mediated matter concerning allocation of costs for landslide repair between
adjoining parcels and damages attributable to use of an express easement, and
related coverage issues
Mediated contract dispute regarding engineering and environmental due
diligence services provided in connection with acquisition of a commercial
property
o Mediated case involving encroachment of tree roots onto a neighboring property
causing various damages
© Arbitrated issues relating to failure to make adequate disclosures in a real estate
purchase agreement

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Honors, Memberships, and Professional Activities

e Designated with the highest level ranking (Band 1) in Construction, Chambers USA,
2005-2015
Recognized as a Best Lawyer, Altemative Dispute Resolution Category, Best
Lawyers in America, 2011-2016
e Selected as a Southem Califomia Super Lawyer in the field of Altemative Dispute
Resolution, 2004-2015

e Robert Flaig Award, Construction Subsection of the Los Angeles County Bar

Association, 2009
« Recognized as a leading practitioner, Altemative Dispute Resolutian Category, Who's
Who Legal: Califomia, 2009-2015
Recognized as a Top 40 Califomia Neutral, Daily Journal, 2008 and 2011
Fellow, The American College of Construction Lawyers
Member, State Bar of Califomia, Real Property Section, Construction Law Subsection
Member, State Board of Directors, Associated General Contractors of Califomia,
1989-1991
Member, American Bar Association, Public Contract Law Section
Member, American Bar Association, Forum Committee on the Construction Industry
Member, Los Angeles County Bar Association, Real Property Section and
Construction Law Subsection
Arbitrator, State of California Public Works Arbitration Panel
Former member, Large and Complex Case Panel, American Arbitration Association
Author of numerous construction law publications, co-author of Construction Change
Order Claims, 2nd Ed., Aspen Law and Business, 2005; co-author of Califomia
Construction Law, Aspen Law and Business, 2011; Board of Editors, Califomia
Construction Law Reporter, Shepards McGraw-Hill
Adjunct Professor of Law, Loyola Law School, 2000-2008
Speaks nationally on various construction law topics at leading seminars and
conferences, including Principal Speaker at:

o West Coast Casualty Construction Defect Seminar, 2004-2006

eo Construction Law Super Conference, 1991, 1996, 1997, 2000, 2001, 2002,

2003, 2005, and 2006

o Law Seminars, Califomia Continuing Education of the Bar, 1988-2001

« "Building Bridges," ADR Profile, Daily Joumal, July 1, 2011

Background and Education

Founding Partner, Gibbs, Giden, Locher, & Turner LLP, 1988-2006

Partner, Wickwire, Gavin & Gibbs, 1978-1988

Partner, Most, Bertram & Gibbs, 1976-1978

Associate, Most & Bertram, 1974-1976

J.D., University of Califomia Los Angeles (UCLA) Law School

A.B., magna cum laude and Phi Beta Kappa, University of California, Berkeley

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“Ken has exceptional
Skills. He was very
prepared, focused and
listened to the attomeys
and clients. Nota minute
was wasted...he
managed to weave
through the many layers
of controversy. He
deserves a medal for
settling this case.”

"Mr. Gack is always
prepared, always
knowledgeable, and
always cuts fo the core of
the relevantissues. Use
him once and you will use
him again.” - Prominent
Bay Area Litigator

Recognized as a “Top
Neutral," Daily Journal
Top Califomia Neutrals
List, 2013

Recognized asa
Northem Califomia Super
Lawyer, San Francisco
Magazine, 2006-2013

Distinguished Mediator of
the Year Award, San
Francisco Trial Lawyers
Association, 2004

Case Manager

Jesse Dienner

JAMS

Two Embarcadero Center
Suite 1500

San Francisco, CA 94111
415-774-2626 Phone
415-982-5287 Fax

Email:
jdienner@jamsadr.com

http:/Avww.jamsadr.com/gack/

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BIOGRAPHY PRESS EVENTS PUBLICATIONS

Kenneth D. Gack, Esq. has been a full time neutral with JAMS since 1996 and has
handled thousands of matters. Prior to joining JAMS, Ken had a private ADR practice for
several years, and before that, he founded and was managing partner of a law firm where
he handled a variety of cases including business litigation, construction, agribusiness, real
property and personal injury matters.

As an arbitrator, mediator, judge pro tem and special master/discovery referee, Ken is
lauded by clients for his thorough preparation, quick grasp complex facts, and his ability to
relate to all parties. Ken has a keen ability to grasp and resolve underlying insurance
coverage, liability and indemnity issues that arise in business, professional liability,
healthcare and personal injury cases. Clients are continually impressed by Ken’s ability
to exercise the utmost persistence and candor to help parties find realistic resolutions to
their disputes.

ADR Experience and Qualifications

« Successfully mediated thousands of cases in a variety of civil litigation settings,
including medical malpractice, employment, business disputes, real property,
healthcare, and agribusiness

« Arbitrator in over 300 matters

« Distinguished Mediator of the Year Award from San Francisco Trial Lawyers
Association in 2004

» Frequent speaker on efficient and effective altemative dispute resolution

Representative Matters
» Agribusiness
o Frequently serve as arbitrator and mediator in disputes between wineries and
business partners including vineyard owners, vineyard maintenance,
distributors, and marketing agencies
o Mediated case involving allegations relating to row crop production, failure to
achieve anticipated production, and 'best farming practices’ issues

« Business/Commercial
9° Mediated a FACTA (Fair and Accurate Credit Transactions Act) case regarding
credit card expiration dates being displayed on customer receipts at a group of
pizza restaurants in Sacramento Area
o Arbitrator in a case involving alleged breach of manufacturing and packaging
agreement by a food distribution company
Arbitrator in a dispute over the acquisition of machinery via an online auction
o Successfully mediated contract and defamation dispute involving a sports minor
league team and a city
Mediated case involving a dispute that arose after a contractual buyout of a
business
Mediated breach of fiduciary duty case arising after a dissolution of a Limited
Liability Partnership among accountants
Arbitration of a suitability action against a securities broker and the registered
representative
Mediated and anbitrated numerous attorney fee disputes, both between attomeys
and firms, and between clients and attomeys

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« Construction

°o Multiple single family dwelling, condo, and townhome construction defect,

S$B800, and related matters with individual and HOA plaintiffs

© Mediated breach of contract, consequential and delay damages by general
residential contractor against subcontractor for alleged failure to meet critical
path deadlines
Mediator and special master of construction defect claims arising fram water
intrusion in 32 single family dwellings, with alleged failures of stucco, flashing
and window systems

°

« Employment

eo Mediator and arbitrator for numerous employment discrimination cases,
including gender, race and age discrimination

o Mediator and arbitrator for numerous wrongful termination matters, including
whistleblower actions

o Mediation of wage and hour claims, including classification, meal and break
daims, with penalty claims

o Handled action for failure to accommodate disability in violation of FEHA by
employee against public entity

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General Biography

Speciaities

Agribusiness

Arbitration

Business/Commercial

Construction

Employment

Environmental

Health Care

Personal Injury/Torts

Professional Liability

Real Property

Securities

Special Master/Discovery
Referee

Locations

San Francisco, Califomia
Las Vegas, Nevada
Sacramento, California
Santa Rosa, Califomia
Silicon Valley, Califomia
Walnut Creek, Califomia

Available to hear cases
nationwide.

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« Environmental
© Mediated case involving a fire abatement recovery action by State against
Railroad operator
o Mediation of contractual dispute over wind turbines and government
regulation/impossibility defense

¢ Healthcare
o Mediation of indemnity/contribution action by skilled care facility against nursing
registry for alleged failure to provide competent staffing, seeking recovery of
setiement funds paid in wrongful death action
o Mediation of multiple cases involving employee and former employee actions
against hospitals and health care organizations, including workplace
harassment, stark and compliance issues

e Personal Injury

o Extensive experience in all types of PVBI claims

o Mediated case involving bum injuries of high school welding class student
allegedly arising from failure of teacher to enforce safety standards

o Mediated case involving bodily injury and premises liability against city, county,
state, and district public entities

eo Mediated case involving insurance and indemnity issues relating to a leg
amputation arising from fall off of a fork lift

o Mediated multiple cases involving allegations of elder abuse and wrongful death
of patients resulting from care provider abuse

eo Mediated case with claims of female citizens against a public entity, Sheriffs
Department and patrol officer for unlawful strip searches

© Mediated cases involving sexual molestation and accompanying insurance
coverage issues

« Product Liability

o Mediated product liability action against manufacturer and café operator for
alleged electrocution from lack of proper grounding and GFI circuit
Special Master in product liability case involving subrogation claims by
manufacturer of heating units against manufacturer of components for losses
incurred from fires
Mediated medical product liability case involving allegations of surgical stapler
failure
In medical malpractice, personal injury and healthcare cases, handled many
issues of product liability related to defective medical devices and products
Product liability matter involving claimed injuries arising out of the alleged failure
of an artificial hip

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« Professional Liability

o Mediated hundreds of medical malpractice cases involving failure to diagnose,
wrongful death and other claims

o Mediated medical malpractice case involving failure to diagnose and treat strep
B infection in a homeless man, with resultant multiple amputations

o Mediated medical malpractice case involving failure to diagnose and provide
emergency response to hypoxic event of drug rehabilitation patient with resultant
irreversible brain injury

o Mediated case involving accounting errors in a real estate transaction

o Mediated sensitive medical malpractice case against a doctor with additional
charges of sexual assault

« Real Property
o Trial judge for action to interpret and apply common area maintenance and
improvement obligations among appurtenant commercial property owners
o Handled bad faith action by homeowners policy insured for alleged delay in
investigation, evaluation and appraisal, with resultant damages of mold and
aggravated remediation costs

Honors, Memberships, and Professional Activities

« Board Member, SEE Intemational, 2014

« Recognized as a "Top Neutral,” Daily Journal Top Califomia Neutrals List, 2013
Recognized as a ADR Northem Califomia Super Lawyer, San Francisco Magazine,
2006-2013
« Distinguished Mediator of the Year Award, San Francisco Trial Lawyers Association,
2004
President and Board Member, Legal Aid of Sonoma County, 2010-2012
Member, Association of Business Trial Lawyers
Member, San Francisco Trial Lawyers Association
Frequently requested lecturer on ADR and civil litigation
Member, American Healthcare Lawyers Association ADR Panel
ADR training includes the Advanced Mediation Training Program at the Pepperdine
University Institute for Dispute Resolution, the National Association of Securities
Dealers and Califomia State Bar ADR Roundtables
* "Gack's Got the Knack for Settlement," ADR Profile, Daily Journal, August 10, 2012

Background and Education
e JAMS, 1996-present
« Private practice emphasizing altemative dispute resolution services, 1994-1996
e Founding and managing partner, James, Gack, Bemheim and Hicks, Santa Rosa,
1982-1994
Judge pro tem, Sonoma County Superior Court, 1983-present
J.D., Pepperdine University, 1976
B.A., Anthropology, Cal. State University, Dominguez Hills, 1973

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F: 415-982-5287
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“This complicated multi-
party case seltied
because of the excellent
work of Bruce Edwards,
the best mediator | have
ever had the pleasure to
work with’- Partner at
National Law Firm

Recognized as "San
Francisco Mediation
Lawyer of the Year,” Best
Lawyers in America, 2014

Recognized as a Best
Lawyer, Alternative
Dispute Resolution
Category, Best Lawyers in
America, 2006-2014

Recognized as Top
California Neutral, Daily
Journal, 2011-2013

Case Manager

David Castillo

JAMS

Two Embarcadero Center
Suite 1500

San Francisco, CA 94111
415-774-2667 Phone
415-982-5287 Fax

Email:
dcastillo@jamsadr.com

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| Bruce A. Edwards, , Esq.

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Resolving Disputes Worldwide

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BIOGRAPHY PRESS EVENTS PUBLICATIONS

Bruce A. Edwards, Esq. is one of JAMS founding partners and most experienced attomey
mediators.

Mr. Edwards has served as a mediator, arbitrator, and special master since 1986. During
that time, he has developed extensive expertise in handling complex, multiparty cases
with emphasis on construction, engineering and infrastructure, business, employment,
and traumatic personal injury matters. He frequently writes and teaches about the benefits
of ADR throughout the United States and Wester Europe.

ADR Experience and Qualifications
« Mediated over 4,500 disputes throughout the United States, Canada, and Mexico
since 1986; disputes have involved a wide variety of legal issues including
construction, engineering and infrastructure, personal injury, healthcare, employment,
business, professional malpractice, mass tort, and insurance coverage
¢ Settled over one-half billion dollars in construction claims since 2001 in Califomia,
Nevada, and Washington

Representative Matters
« ADAFFair Housing:

o Reno, NV, suit by Justice Department against apartment owners for violation of

ADA/Fair Housing
* Business/Commercial:

eo Chicago, Business loss claim following refrigerant line explosion at production
plant, $22 million settlement

o San Francisco, CA, partnership dissolution, breach of licensing agreement for
worldwide distribution of contraceptive device

« Construction Defect:

o Atlanta, GA: Resolved dispute between general contractor and Georgia State
Department of Transportation regarding breach of contract over construction of
50 mile beltway (280) circumventing city of Atlanta

eo San Francisco, CA: Successfully mediated dispute between prime contractor and
sub-contractors, including insurance carriers and governmental entities
regarding delayed construction of Travis Air Force Base Officers’ Quarters

o Las Vegas, NV, Condominium conversion case involving fraudulent
misrepresentation and construction defects; $11.8 million

o Carson City, NV, 376 single-family homes with construction defects and mold
contamination, $14.75 million sett!ement

o Las Vegas, NV, 720-unit condominium project with construction defects and
mold contamination, $20.5 million settlement

« Class Action:

o Las Vegas, NV, class action involving defective pipe fittings in 35,000 homes in
Southem Nevada, $240 million settlement

o San Francisco, CA, Multiple class actions involving aluminum window product
manufacturers, settlement terms confidential

o Las Vegas, NV: Resolved class action regarding underground plumbing leaks in
3,800 single-family homes resulting in a $21.5 million settlement

e Employment:

o Louisville, KY, 62-year-old associate general counsel for Fortune 400 Company
brought claim for wrongful termination and age discrimination, settlement tenns
confidential

« Environmental:

o San Francisco, CA, plant explosion resulted in the release of asbestos over a
public marina and surrounding neighborhood; 175 plaintiffs brought claims for
personal injury and property damage, settlement terms confidential

« Fire Loss/Subrogation:

eo Sacramento, CA, sparks from a utility line ignited a fire resulting in the destruction

of homes and personal property, $10 million settlement
« Healthcare:

eo San Francisco, CA, negotiated reimbursement agreement between regional

trauma center and healthcare provider for emergency patient care
« Insurance Bad Faith:

eo San Francisco, CA, automobile accident resulted in paraplegic injury to nine-
year-old girt

o San Francisco, CA, claim against carrier for failure to settle within policy limits,
$6.5 million settlement

« Personal Injury:

o Portland, ME: 23-year-old industrial worker burned over 90% of his body in a
plant.explosion, $18 million settement

o San Francisca, CA: Auto accident resulted in paraplegic injury to nine year old.

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General Biography

Specialties
Arbitration
Business/Commercial
Construction
Construction Defect
Employment
Engineering and Construction
Environmental
Insurance
Personal Injury/Torts
Special Master/Discovery

Referee

Locations
San Francisco, Califomia
Las Vegas, Nevada
Sacramento, California
Santa Rosa, Califomia
Silicon Valley, Califomia

Wainut Creek, California
Available worldwide

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Bad faith refusal to settle within $100,000 policy limit resulted in $6.5 million
settlement

o Las Vegas, NV, Bad faith refusal to settle following $41 million jury verdict in off
road motorcycle accident, settlement terms confidential

o Salt Lake City, UT, vehicle roll over death involving Firestone tires; settlement
terms confidential

o San Francisco, CA, 14-month-old teddler was killed by ingesting baby oil,
settlement terms confidential

eo Washington, D.C., two Marine Comps pilots killed in crash of “Osprey” tilt rotor
helicopter, settement terms confidential

eo Jackson Hole, WY: 53-year-old physician died and wife sustained permanent
brain injury following carbon monoxide poisoning at resort hotel, setdement
terms confidential

eo San Francisco, CA: Chemical leak from a local oil refinery resulted in a toxic
cloud allegedly causing injury to 132 plaintiffs, settlement terms confidential

Construction Conferences

« Moderator: MC2: Semi-Annual Construction Defect Litigation Conference in Nevada,
Colorado and Florida (2003-2008)

« Speaker: West Coast Casualty Construction Defect Conference; Mealeys
Construction Defect Conference; Construction Defect Super Conference; DRI,
Construction Defect Conference; American Bar Association, ADR Subcommittee
Annual Conference

Honors, Memberships, and Professional Activities

« Recognized as a leading practitioner, Altemative Dispute Resolution Category, Who's
Who Legal: Califomia, 2014-2015

« Recognized as “San Francisco Mediation Lawyer of the Year," Best Lawyers in
America, 2014

e Recognized as a "Best Lawyer, Altemative Dispute Resolution Category," Best
Lawyers in America, 2006-2015

« Recognized as Top California Neutral, Daily Journal, 2011-2013

« Recipient, Jerrold S. Oliver Award of Excellence presented at West Coast Casualty
Construction Conference for outstanding contribution to the construction community,
2007

« Member, American Bar Association Section of Dispute Resolution

Presenter, Private Commercial Mediation Conclave, Bangalore, India, 2015

Adjunct Professor, Advanced Mediation, Mediation Process Design, and Ethics in

Mediation, Straus Institute for Dispute Resolution, Pepperdine University School of

Law in Califomia, Vermont, Hawaii, (1994-Present)

e Adjunct Professor, Partnering, and Construction Mediation, Summer School on
Business Mediation, Admont, Austria (2002-Present)

e “A Neutral Pioneer,” ADR Profile, Daily Journal, June 6, 2011

Background and Education

« Chief Mediator and Executive Vice President, JAMS/Endispute, 1999

« Co-Founder, Bates Edwards Group, 1991

« Litigation Partner, Sedgwick, Detert, Moran & Amold, San Francisco, CA, 1981-1991
e J, D,, Hastings College of Law, 1981

« BA., Psychology, University of California, Davis, 1978

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Resolving Disputes Worldwide

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General Biography

BIOGRAPHY PRESS EVENTS PUBLICATIONS Specialties
T: 213-620-1133 Arbitration
F:213-620-0100 Richard Chernick, Esq., Vice President and Managing Director of JAMS' Arbitration
Download vCard Practice, is a nationally recognized expert in the resolution of complex and multi-party .
matters. Mr. Chemick has conducted hundreds of large and complex arbitrations and Construction
mediations employing various rules and before all major administering institutions, both Construction Defect
nationally and internationally.

Business/Commercial

Los Angeles Arbitration

Lawyer ofthe Year, Best
Lawyers, 2016

Recognized as a Best
Lawyer, Alternative
Dispute Resolution
Category, Best Lawyers in
America, 2005-2016

ADR Experience and Qualifications

Mediator and arbitrator of complex disputes including commercial, real property,
employment, entertainment, intellectual property, technology, construction, and public
law matters, full time since 1994

Frequently serves as chair of tripartite panels of arbitrators or as party-appointed

Employment

Engineering and Construction
Entertainment and Sports

Federal

Govemmental/Public Agency

arbitrator Health Care
SuperLawyer, ADR « Consultant on dispute resolution issues, including clause drafting and dispute system Insurance
category, SuperLawyers, design
2010-2015 p " * ABA's Advisor to the drafting committee for the Revised Uniform Arbitration Act Intellectual Property
Los Angeles ADR Lawyer Honors, Memberships, and Professional Activities cera rors
ofthe Year, Best Lawyers, « Los Angeles Arbitration Lawyer of the Year, Best Lawyers, 2016 yury
2011 and 2015 « Recognized as a Best Lawyer, Altemative Dispute Resolution Category, Best Real Property
Lawyers in America, 2005-2016 Surety
Los Angeles Mediation « Selected as a Southern California SuperLawyer in the field of Altemative Dispute
Lawyer of the Year, Best Resolution, 2010-2015
Lawyers, 2013 e Los Angeles ADR Lawyer of the Year, Best Lawyers, 2011 and 2015 Locations

Recognized as a leader
among world's
commercial arbitration
specialists, Global
Arbitration Review, 2013

Recognized as a Top
California Neutral, Daily
Journal, 2003, 2006-

Los Angeles Mediation Lawyer of the Year, Best Lawyers, 2013
Recognized as a leader among word's commercial arbitration specialists, Global
Arbitration Review, 2013

« Recognized as a Top California Neutral, Daily Journal, 2003, 2006-2010 and 2012

Recognized as a Best Lawyer, Southern California's Best Lawyers, 2012

Recognized as a leading practitioner, Alternative Dispute Resolution Category, Who's
Who Legal: California, 2009

Selected as an entertainment law "Power Mediator," Hollywood Reporter, 2007
Recognized as One of the 500 Leading Judges in America, Lawdragon Magazine,
2006

Los Angeles, Califomia
Las Vegas, Nevada
Orange, Califomia

Santa Monica, Califomia
San Francisco, California
Sacramento, California
Santa Rosa, California

« Peacemaker of the Year, Southem Califomia Mediation Association, 1999 ae aa
2010, and 2012 ¢ Griffin Bell Volunteer Service Award, Dispute Resolution Services, 1994 Silicon Valley, Califomia
Case Manager e Bernard £. Witkin Amicus Curiae Award, California Judicial Council, 1994 Walnut Creek, Califomia
Reggie Joseph . Distinguished Service Award for Outstanding Contributions to the Responsible Use of Available worldwide
JAMS ADR, American Arbitration Association, 1993
555 W.5thSt Presidential Award, Los Angeles Trial Lawyers Association, 1993
32nd Floor ~ Legal Services Leadership Award, Westem Center on Law and Poverty, 1993

Los Angeles, CA 90013
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213-620-0100 Fax
Email:
rjoseph@jamsadr.com

Norma Zarky Memorial Award, Beverly Hills Bar Foundation, 1991
Board member: Califomia Dispute Resolution Council; Westem Justice Center
Former Chair of the American Bar Association's Dispute Resolution Section and of its
Arbitration Committee
Founding President of the College of Commercial Arbitrators
Founding Chair of the ADR Committee of the State Bar of Califomia
Past president, Los Angeles County Bar Association, the Legal Aid Foundation of Los
Angeles, and past Chairman of the Board of Dispute Resolution Services, Inc., the
dispute resolution program of the Los Angeles County Bar Association
Co-presenter, "Drafting and Enforcing Effective ADR Provisions," State Bar of
Califomia 84th Annual Meeting, 2011
Author or co-author of leading texts an ADR, Employment ADR, and intemational
arbitration and mediation; frequent trainer and lecturer on arbitration and mediation
topics. Author of monthly ADR Practitioner column in Los Angeles and San Francisco
Daily Journal
Received comprehensive training in JAMS in-house Entertainment Law workshops
including, but not limited to:

o “Net Profits and New Media: The Future of Entertainment Litigation”

o ‘Legal issues and Developments in Video Game Law"
Daily Journal ADR Profile, April 2009
Arbitrator, Hang Kong International Arbitration Centre's Panel of Arbitrators

Background and Education

Partner, Gibson, Dunn & Crutcher, 1977-1994; (associate, 1971-1976); specialized in
commercial litigation and domestic and intemational arbitration

Law Clerk, Donald R. Wright, Chief Justice of California, 1970-1971

J.D., University of Southem Califomia (USC), 1970 (Order of the Coif, Articles Editor,
S. Cal. L. Rev.)

A.B., University of Califomia Las Angeles (UCLA), (English), 1967

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e-Discovery

*Certified Electronic
Discovery Specialist
(CEDS)

Recognized as a Best
Lawyer, Altemative
Dispute Resolution
Category, Best Lawyers in
America, 2009-2014

Califomia Academy of
Distinguished Neutrals
inducted in 2005

Califomia Top Neutral,
Daily Joumal, 2013

Recognized as one of the
Top 50 Mediators in
California,

Daily Journal, 2004

Case Manager

Reina Feazell

JAMS

500 N. State College
Blvd.

14th Floor

Orange, CA 92868
714-937-8225 Phone
714-939-8710 Fax
Email:
feazell@jamsadr.com

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BIOGRAPHY PRESS EVENTS PUBLICATIONS

Viggo Boserup, Esq. is a Certified Electronic Discovery Specialist and an accomplished
neutral who is widely respected by counsel for his impartiality in treating all parties fairly
and ability to quickly identify critical issues. His exceptional listening skills and sensitivity
toward each party make him particularly well suited for resolving emotionally charged,
complex cases. Known for his fortitude in obtaining a productive result and going the extra
mile, Mr. Boserup follows up with parties to effect a settlement, even after the mediation
session is over.

Mr. Boserup’s work on more than 2,000 homeowner lawsuits following wildfires that raged
through San Diego County in 2007 stands as an illustrative example of his expertise as a
special master. Working in conjunction with another JAMS mediator, Mr. Boserup
developed and kept organized a mediation settlement process that was lauded by
attomeys involved in the cases. The process facilitated settlement of more than 99 percent
of the claims.

ADR Experience and Qualifications

« Mediated more than 4,000 cases including multiparty, complex matters that have
covered a full range of issues involving commercial, complex financial issues,
construction, employment, entertainment, estate planning, fair housing act
enforcement, insurance coverage and bad faith, intellectual property, personal injury,
products liability, professional liability, property damage, special master, wrongful
death, and other issues

« Asa mediator of construction and workplace-related disputes, Mr. Boserup has
designed dispute resolution systems within mid-sized to major institutional
environments

e Asan attomey, he specialized in probate, trusts, and estates; tax; finance; oil and gas
(including 20+ years of managing working interests in more than 35 oil & gas leases);
construction, real estate acquisition and development as well as the related areas of
insurance coverage and liability

« Asa businessman, Mr. Boserup has developed both commercial and residential real
estate projects and has served as CEO of a national industrial construction company.
He was responsible for developments and real estate and industrial construction
projects across the country and has managed the daily operation and the strategic
planning of a business involving projects with more than 1,000 employees in 26
states. Mr. Boserup has facilitated meetings with neighborhood groups, planning
commissions, and city councils. As a real estate developer and an instrument rated
private pilot, he has assisted in the resolution of aviation-related issues and has
coordinated the development of consensus on issues ranging from economic
development, planning, public works, safety, design, construction, public financing
and the like.

Representative Matters

Aviation: Mr. Boserup is a licensed pilot and has successfully resolved a number of
disputes involving the aviation industry including matters involving claims of pilot
ror, and product defect.

Commercial: resolved numerous disputes ranging in complexity from two to multiple
parties, including a class action involving 400,000+ claimants against supermarket
chain for false promotion; issues have included numerous breach of contract, many
unfair competition and theft of trade secrets, shareholder and partnership, partnership
dissolution, commissions, securities churning and broker malpractice, commercial
real estate, airplane damage and helicopter crash, and financial institutions disputes
Construction: resolved numerous multiparty defect claims involving office buildings,
foundations, roofs, walls, windows, mobile home park, concrete girders, landscape
installation, swimming pool design and installation, golf-course construction, delay
and impact damages on freeway overpass, and failure to comply with Fair Housing
Act regarding disability access

e Employment: numerous wrongful termination claims based on age, race, and gender

discrimination; constructive terminations; sexual harassment; failure to accommodate;
retaliation; wage and hour disputes; whistle blower; hostile work environment; and
breach of employment contracts

« Entertainmentfntellectual Property: claims for copyright and trademark
infringement, trade secrets and unfair competition, tibel and slander, net-profits
paricipation agreement for video and cable, feature film rights, rights to successful
television series, rights to internationally syndicated television series, and breach of
contract for sequel production fees

« Estates/Probate/Trusts: restructuring of principal of trusts to settle claims; division of
personal injury proceeds among survivors and estates; sale of estate assets to
resolve claims against fiduciary; will contests, oral contract to make a will, and undue

General Biography

Specialties

Arbitration

Aviation

Business/Commercial

Class Action/Mass Tort

Construction

Construction Defect

Employment

Engineering and Construction

Estates/Probate/Trusts

Health Care

Insurance

Intellectual Property

Personal Injury/Torts

Professional Liability

Real Property

Special Master/Discovery
Referee

Locations

Orange, Califomia
Inland Empire, California
Las Vegas, Nevada

Los Angeles, Califomia
San Diego, California
Santa Monica, Califomia

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nationwide.

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influence
« Health Care: experience in health care issues involving medical necessity,
reasonable value, coding, Medicare pre-emption, networks, post-stabilization and a
variety of other issues arising between payers and providers
« Insurance Coverage, Bad Faith, and Other Claims: stress-related claims,
depression, carpal tunnel syndrome, chronic fatigue, fibromyalgia, Crohn’s disease,
bi-polar condition, numerous other bad faith and coverage claims resulting from
physical injuries, disabilities, diseases, and psychological illness
Personal Injury: mediated more than 500 soft tissue injury cases; mass tort
settlement division $2.5 million claim involving 134 parties; numerous claims ranging
from slip and falls to catastrophic injuries; vehicular injuries involving autos,
motorcycles, trucks, boats, commuter and freight trains; injuries on school property;
construction site accidents; mold infestations; sexual assaults; and others
« Products Liability: rollovers of SUVs and autos; gas storage tank explosion resulting
from pressure relief valve malfunction; injuries caused by alleged defective design of
construction equipment, nail gun, asphalt spreader, tank liners, boat transmission,
yard tractor, auto gas tank, seat belt, playpen, hip replacement hardware; injuries
caused by inadequate waming or failure to wam in air bag malfunction, exploding
lubricant, exploding boiler, skip loader, and wheel chair
Professional Liability: resolved over 150 medical malpractice claims, numerous
legal malpractice claims, and claims involving pharmacists, accountants, insurance
brokers, architects, and design professionals
Real Estate: two-party and multi-party landlordAenant disputes; failure to disclose;
property line; mold damage and injuries; re-opened earthquake claims; breach of
contract; breach of fiduciary duty; claims for damage caused by water intrusion,
leaking bathtub caulking; view obstructions; disputes between brokers, buyers,
sellers, and investors; landslide; and tenant claims of reduction in housing services
under rent stabilization ordinance involving 111 parties
Wrongful Death: cases involving drowning, vehictes, medical malpractice, carbon
monoxide poisoning, failure to provide adequate security, negligent care, elder
abuse, shootings, students, commercial airline crash

Honors, Memberships, and Professional Activities

Certified Electronic Discovery Specialist, Association of Certified E-Discovery

Specialists

e Recognized as a Best Lawyer, Alternative Dispute Resolution Category, Best
Lawyers in America, 2009-2014

e Califomia Top Neutral, Daily Joumal, 2013

« Recognized as one of the tap 50 mediators in the state of California, Daily Joumal,
2004

e Diplomat Member, Califomia Academy of Distinguished Neutrals

« Member, California State Bar, Los Angeles County Bar Association, and Lawyers-

Pilots Bar

Instrument rated licensed private pilot

A native of Denmark and fluent in both Danish and English, Mr. Boserup has taught

mediation to hundreds of lawyers, judges, students, teachers, and mental health

professionals in both the United States and Europe

« Authored articles in both domestic and international publications on the benefits of
mediation for attorneys and clients alike

Background and Education
« Full-Time, Mediator in Private Practice, 1992-present
« Private Law Practice, 1970-1992
e J.D., Hastings College of the Law, 1969
« BS., Princeton University, 1966

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Scott Parreno

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3800 Howard Hughes
Pkwy., 11th Floor

Las Vegas, NV 89169
702-835-7806 Phone
702-437-5267 Fax
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spareno@jamsadr.com

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BIOGRAPHY PRESS

Hon. Stewart L. Bell (Ret.) has experience resolving a wide variety of matters in the areas
of business and commercial law, real estate and construction, personal injury, medical
malpractice, as well as family law. As a practicing attomey and jurist he has presided over
hundreds of jury trials and is well regarded by counsel for his acute analytical skills,
knowledge of the law, and fair-mindedness. Judge Bell is especially skillful in bringing
parties together by eaming the trust and confidence of all parties to reach a settlement.

ADR Experience and Qualifications

Handled hundreds of mediations covering all aspects of civil practice including the recent
representative matters listed below; many of these cases involve multi-party, high-stakes
matters.

Attended various courses covering arbitration and/or mediation, including a 40-hour
course given by the National Judicial College, Reno, Nevada.

Representative Matters
« Business/Commercial
e Mediated resolution of multi-party, multimillion dollar partnership dispute
o Adjudicated alleged substantial partnership embezzlement claim
e Resolved a case involving breach of fiduciary duties and fraud
© Arbitrated a case involving mechaniclien claims
© Mediated resolution of partnership dispute regarding ownership
« Employment
o Adjudicated complex employment contract dispute
© Arbitrated employment termination dispute with govemment contracts
« Insurance
o Arbitrated to settlement first party insurance contract dispute
« Mediated dispute on coverage for child after missed payments during life of the
policy :
eo Resolved several insurance bad faith claims
e Personal Injury/Product Liability
° Mediated resolution of multimillion dollar product liability claims
o Mediated resolution of multimillion dollar wrangful death/product liability case
o Mediated resolution of substantial claim for alleged wrongful death of patient
under nursing home care
o Mediated resolution of an automobile accident caused by employee
o Resolved a bodily injury claims resonating at a large transportation station
« Professional Liability
o Presided over major medical malpractice trials
e Real Property
Mediated settlement of substantial competing home owners association rights
claims
Mediated substantial real property lien disputes
Adjudicated multimillion dollar contractual dispute
Adjudicated complex, competing multimillion dollar lien claims disputes
Presided over architectural services dispute; re-wrote the law regarding the effect
of offers of judgment
o Mediated to setiementa foreclosure matter alleging bank fraud

°

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Honors, Memberships, and Professional Activities

Recognized as one of America’s 500 Best Trial Judges, Lawdragon magazine
Recognized as an Outstanding Member of the Clark County Bar Association
Nevada District Judges Association

Member, American Bar Association

Member, Nevada Trial Lawyers Association

Member, State Bar of Nevada

Member, Clark County Bar Association

Member, State Bar of Califomia

Background and Education

JAMS Mediator/Arbitrator, February 2009-present

Senior Judge, State of Nevada, January 2009-2012

Judge, Eighth Judicial District Court of Clark County, Nevada

District Attorney, Clark County

Private law practice

Public Defender, Clark County Public Defender’s Office

Legal Research Assistant to Judge Howard W. Babcock, Eighth Judicial District Court
J.D., University of California, Los Angeles (UCLA) Law School (graduated top 15% of

General Biography

Specialties
Arbitration
Business/Commercial
Employment
Family Law
Personal Injury/Torts
Professional Liability
Real Property

Locations

Las Vegas, Nevada

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nationwide.
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class)
e B.S., University of Nevada, Las Vegas (UNLV) (Dean's List, Alpha Kappa Psi, Phi
Kappa Phi National Collegiate Academic Honor Society)

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